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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                            )    MDL 2804
OPIATE LITIGATION                                       )
                                                        )    Case No. 1:17-md-2804
THIS DOCUMENT RELATES TO:                               )
                                                        )    Judge Dan Aaron Polster
West Boca Medical Center, Inc. v.                       )
AmerisourceBergen Drug Corporation, et al.              )    OPINION AND ORDER
1:18-op-45530                                           )
                                                        )

        Before the Court are three separate motions to dismiss plaintiff West Boca Medical

Center, Inc.’s (“West Boca,” or the “Hospital”) Complaint. Doc. #: 385.1 Distributors,2

Pharmacies,3 and Manufacturers4 each filed a group motion, seeking dismissal of West Boca’s

claims against them.5 Doc. #: 684-1 (Distributors); Doc. #: 686 (Pharmacies); Doc. #: 691

(Manufacturers). West Boca filed an omnibus response in opposition that addressed all three


1 Unless otherwise indicated, all document numbers refer to the master MDL docket, Case No. 17-md-2804. Page
numbers, when necessary, refer to the documents’ native format pagination. West Boca’s Complaint was refiled
unredacted at Doc. #: 2985 and although the Court refers to the sealed complaint, Doc. #: 385, paragraph numbers in
the unredacted version should be the same.
2 The Distributors’ motion was filed collectively by defendants AmerisourceBergen Drug Corporation (“ABDC”);
Cardinal Health, Inc. (“Cardinal”); and McKesson Corporation (“McKesson”) (collectively, “Distributors” or
“Distributor Defendants”).
3 The Pharmacies’ motion was filed collectively by defendants CVS Health Corporation (“CVS”); The Kroger Co.
(“Kroger”); Walgreens Boots Alliance, Inc. (“Walgreens”); and Walmart Inc. (“Walmart”) (collectively
“Pharmacies” or “Pharmacy Defendants”).
4 The Manufacturers’ motion was filed collectively by defendants Purdue Pharma LP, Purdue Pharma Inc., and The
Purdue Frederick Company Inc. (“Purdue”); Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson
Pharmaceuticals, Inc. (“Allergan”); Watson Laboratories, Inc., Actavis Pharma, Inc.; Actavis LLC; Teva
Pharmaceuticals, USA, Inc.; and Cephalon, Inc. (“Teva”); Johnson & Johnson (“J&J”) and Janssen Pharmaceuticals,
Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., and Janssen Pharmaceutica, Inc. (“Janssen”); Endo Health
Solutions Inc. and Endo Pharmaceuticals Inc. (“Endo”); Insys Therapeutics, Inc. (“Insys”); Mallinckrodt LLC
(“Mallinckrodt”); and Noramco, Inc. (“Noramco”) (collectively “Manufacturers” or “Manufacturer Defendants”).
5 The Court recognizes that some Defendants have or are contemplating filing for bankruptcy protection, and
litigation against those Defendants has or may be stayed pending those proceedings. For the sake of simplicity, the
Court addresses these motions as they were filed by the parties.
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motions. Doc. #: 806. Distributors and Pharmacies filed replies in support of their respective

motions. Doc. #: 887 (Distributors); Doc. #: 890 (Pharmacies). Manufacturers also filed a reply

in support of their motion. Case No. 18-op-45530, Doc. #: 55.6

         West Boca later filed a notice of supplemental authority, Doc. #: 911, and then

(purportedly on behalf of all hospitals whose cases have been transferred into this MDL) filed

another notice of supplemental authority (“Second Notice”), Doc. #: 2618. Distributors filed a

response to West Boca’s second notice. Doc. #: 2681. West Boca filed a reply to Distributors’

response, again on behalf of all hospitals in the MDL. Doc. #: 2705. West Boca then filed a third

notice of supplemental authority. Case No. 1:18-op-45530, Doc. #: 65.7

         The Court has reviewed all of the parties’ submissions. For the reasons stated below, the

Court now rules as follows: Defendants’ Motions to Dismiss are GRANTED with respect to

Count II (RICO § 1962(a)); Count V (Breach of Implied Warranty); Count VIII (Negligence Per

Se); Count IX (Negligent Marketing); and Count X (Negligent Distribution). The motions are

otherwise DENIED.



                          I. Legal Standard for a Motion to Dismiss

         The principles governing review of a Motion to Dismiss pursuant to Federal Rule of Civil

Procedure 12(b)(6) are well-settled, as this Court has previously articulated. See, e.g., Report and

Recommendation (“R&R”) on Motions to Dismiss Muscogee (Creek) Nation Claims,

Doc. #: 1499 at 2-3; R&R on Motion to Dismiss Summit County Claims, Doc. #: 1025 at 2-3. A

court is “required to ‘accept all well-pleaded factual allegations of the complaint as true and

6 The Manufacturers’ Reply was not filed on the master MDL docket.
7 Additionally, on April 5, 2019, various hospital plaintiffs, including West Boca, filed a tangentially-related Brief
in Response to Defendants’ Briefing on the Viability of Public Nuisance Nationwide. Doc. #: 1523.




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construe the complaint in the light most favorable to the plaintiff.’” Dinwiddie v. Beshear, 2019

WL 4009835, at *2 (6th Cir. Apr. 24, 2019) (quoting Dubay v. Wells, 506 F.3d 422, 426 (6th Cir.

2007); see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       Federal courts require only “notice pleadings” containing “a short and plain statement of

the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Accordingly, “a

complaint need not contain ‘detailed factual allegations,’ however, it requires more than ‘labels

and conclusion’ or ‘a formulaic recitation of the elements of a cause of action.’” Dinwiddie, 2019

WL 4009835, at *2 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). Rule 8

“demands more than an unadorned, the-defendant-harmed-me accusation,” and a complaint will

not “suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Iqbal, 556

U.S. at 678 (quoting Twombly, 550 U.S. at 557).

       A complaint will survive a motion to dismiss if it “contain[s] sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id. (quoting Twombly,

550 U.S. at 570). Facial plausibility exists “when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (citing Twombly, 550 U.S. at 556). Deciding if a complaint states a plausible claim

for relief is “a context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” Id. at 679. A district court may dismiss a complaint for failure to

state a claim “only if it’s clear that no relief could be granted under any set of facts that could be

proved consistent with the allegations.” Trollinger v. Tyson Foods, Inc., 370 F.3d 602, 615 (6th

Cir. 2004) (quoting Swierzkiewickz v. Sorema N.A., 534 U.S. 506, 514 (2002)); Hishon v. King &

Spalding, 467 U.S. 69, 73 (1984)).

                                 II. Factual Allegations

       In its Complaint, West Boca asserts the following claims:


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                Count I, Violation Of RICO,8 18 U.S.C. 1961, et seq. – Opioid False Narrative
                 Enterprise (Against All Defendants);
                Count II, Violation Of RICO, 18 U.S.C. § 1962(a)&(d) (Against All Defendants);
                Count III, Violation Of Florida’s Deceptive And Unfair Trade Practices Act (Fla.
                 Stat. Ann. § 501.201, et seq.) (Against All Defendants);
                Count IV, Fraudulent Practices – Misleading Advertising, Florida Statutes Title
                 XLVI, Crimes § 817.41 (Against Marketing Defendants);9
                Count V, Breach of Implied Warranty of Fitness For a Particular Purpose (Fla.
                 Stat. Ann. §§ 672.315 and 672.11, et seq.) (Against All Defendants);
                Count VI, Negligence (Against All Defendants);
                Count VII, Wanton Negligence (Against All Defendants);
                Count VIII, Negligence Per Se (Against All Defendants);
                Count IX, Negligent Marketing (Against Marketing Defendants);
                Count X, Negligent Distribution (Against All Defendants);
                Count XI, Nuisance (Against All Defendants); and
                Count XII, Unjust Enrichment (Against All Defendants).
        Many of the factual allegations that pertain to the Defendants’ alleged behavior are the

same as those alleged in the complaints filed in the (i) Summit County, (ii) Muscogee (Creek)




8 Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. 1961, et seq.
9 In its Complaint, West Boca uses the following definitions:

   “Collectively, Purdue, Actavis, Cephalon, Janssen, Endo, Insys, and Mallinckrodt are referred to as ‘Marketing
    Defendants.’” See Doc. #: 385 at ¶131. West Boca’s definition of Janssen includes J&J and Noramco, thus the
    “Marketing Defendants” are the same as the Manufacturers defined in footnote 4 by their joint participation in
    the Manufacturers’ Motion to Dismiss.
   “Cardinal, McKesson, and AmerisourceBergen are collectively referred to as the ‘Distributor Defendants.’”
    Doc. #: 385 at ¶148.
   “Collectively, Defendants CVS, Kroger, Rite Aid, Walgreens, and Wal-Mart are referred to as ‘National Retail
    Pharmacies.’” Doc. #: 385 at ¶154. Although incorporated in this definition, Rite-Aid of Maryland, Inc. was
    voluntarily dismissed on May 29, 2018. See Case No. 18-op-45530, Doc. #: 5; see also Doc. #: 760 (redacted
    complaint filed with Rite Aid removed).
   “Additionally, the Distributor Defendants and the National Retail Pharmacies are collectively referred to as the
    ‘Supply Chain Defendants.’” Doc. #: 385 ¶154.




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Nation, and (iii) Blackfeet Tribe cases.10 See Doc. ##: 514; 731; 6.11 The Magistrate Judge and

this Court have addressed those factual allegations at length. See Summit County R&R,

Doc. #: 1025; Muscogee Nation R&R, Doc. #: 1499; Blackfeet Tribe R&R, Doc. #: 1500;

Opinion and Order on Summit County, Doc. #: 1203; Opinion and Order on Tribe Cases,

Doc. #: 1680. Thus, the Court only provides below a brief overview of the factual allegations

specific to West Boca, and incorporates by reference the general factual circumstances

surrounding the opioid crisis and the allegations of Defendants’ behavior that are common to the

cases addressed in the aforementioned R&Rs and Orders.

A. Factual Allegations Against Defendants

        Plaintiff, West Boca Medical Center, is a 195-bed, acute-care hospital located in Palm

Beach County, Florida, which includes a pharmacy, emergency room (“ER”), and a 35-bed

Neonatal Intensive Care Unit (“NICU”). West Boca also operates a separate ER facility in

Broward County, Florida. Doc. #: 385 at ¶20.

        West Boca alleges that the Manufacturer Defendants, also referred to as “Marketing

Defendants,” manufacture, sell, and market prescription opioid painkillers and fueled the opioid

crisis “through a massive marketing campaign premised on false and incomplete information,”

which engineered a “dramatic shift in how and when opioids are prescribed by the medical

community and used by patients.” Doc. #: 385 at ¶15. West Boca alleges the Marketing

Defendants dramatically increased sales of prescription opioids despite their knowledge “that



10 Those cases are County of Summit, Ohio, et al. v. Purdue Pharma L.P., et al., 18-op-45090; The Muscogee
(Creek) Nation v. Purdue Pharma L.P., et al., 18-op-45459; and The Blackfeet Tribe of the Blackfeet Indian
Reservation v. AmerisourceBergen Drug Corp., et al., 18-op-45749.
11 The Magistrate Judge’s R&R and the Court’s Opinion and Order addressed the then-operative Summit County
Complaint, Doc. #: 514. This complaint has since been amended. See Doc. ##: 2943; 3020. The Blackfeet Tribe
Complaint was not filed on the master MDL docket. The referenced Doc. #: 6 corresponds to case no. 18-op-45749.




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opioids were addictive and subject to abuse, and that their other claims regarding the risks,

benefits, and superiority of opioids for long-term use were untrue and unfounded.” Doc. #: 385 at

¶16.

         West Boca also alleges that the Distributor and Pharmacy Defendants, also referred to as

“Supply Chain Defendants,” “participated in the conspiracy by ignoring their legal

responsibilities under the Controlled Substance Act, and flooded affected areas with opioids well

knowing they were contributing to, but profiting from, widespread addiction and human misery.”

Doc. #: 385 at ¶17. West Boca further alleges that Marketing and Supply Chain Defendants

“extract billions of dollars of revenue from the addicted American public while tens of millions

of dollars of injury are caused to hospitals as the reasonably foreseeable consequences of the

prescription opioid epidemic.” Doc. #: 385 at ¶19.

         West Boca further alleges that hospitals in Southern Florida, where it is located, have

been hit especially hard by the opioid crisis. West Boca alleges that, prior to 2009, Florida’s

medical laws allowed physicians to prescribe and dispense opioids from their offices, with no

prescription-monitoring system in place. Doc. #: 385 at ¶30. West Boca cites to statistics

showing that “[b]y 2009, of the top oxycodone-prescribing counties in American, nine were in

Florida. . . Broward County had four pain clinics in 2007 and 115 two years later.” Doc. #: 385 at

¶30. West Boca also provides statistics showing that “[i]n 2009, 25% of nationwide shipments of

oxycodone were sent to the state of Florida. By 2010, 98 of the 100 doctors in the country who

dispensed the highest quantities of oxycodone from their offices were located in Florida.”

Doc. #: 385 at ¶31. West Boca further provides statistics regarding the costs of this epidemic,

showing that in 2015, “health care costs related to opioid abuse in Florida reached

$1,246,526,068.00.” Doc. #: 385 at ¶38.




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B. Facts Specific to Hospitals

       In its Complaint, West Boca alleges that hospitals, such as itself, and especially those in

south Florida, have been negatively impacted by the opioid crisis in at least three ways. First,

West Boca alleges that hospitals must provide un- or under-compensated medical treatment to

victims of the opioid crisis, at great expense to hospitals. Under various state and federal laws,

hospitals are required to provide care to all patients who come in with any medical condition,

including opioid addiction, regardless of whether the patient has the ability to pay for treatment.

Further, it is often the case that patients who arrive at West Boca with opioid dependency issues

will require extra or especially-complicated care compared with patients who do not have opioid-

use issues. Exacerbating this situation, these “opioid patients” frequently do not have health

insurance coverage or the ability to pay otherwise; and even when they do have insurance,

hospitals are not compensated fully for the special care that may be required. See Doc. #: 385 at

¶¶53; 55; 57.

       Second, West Boca alleges that hospitals have been forced to incur additional operational

costs associated with the opioid crisis. Because healthcare providers, such as those employed by

West Boca, are themselves a potential source of opioid medication, hospitals frequently must

utilize additional capital and human resources to identify and handle individuals who attempt to

obtain opioids by deception—so-called “pill-seekers.” Hospital staffs require additional training

and diagnostic tools to distinguish pill-seekers from legitimate patients, and hospitals need to

hire additional personnel to help them keep their opioids secure. See Doc. #: 385 at ¶58.

       Finally, West Boca alleges hospitals are also direct consumers of opioid pills. See

Doc. #: 385 at ¶¶52; 62. Hospitals often run their own pharmacies, which purchase pills from

distributors to be dispensed to hospital patients. Hospitals, of course, also have doctors and

nurses on staff who were direct targets of the Defendants’ alleged misrepresentations. West Boca


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asserts these alleged misrepresentations caused their physicians to write more prescriptions than

they otherwise would have, in turn causing them to have to purchase, stock, and fill more

prescriptions for opioid medications than were warranted. See Doc. #: 385 at ¶52; 63.12

                               III. Causation under Florida Law

         The Pharmacies assert that Florida’s “sole proximate cause” doctrine, and also the

learned intermediary rule, each preclude a finding of proximate cause as a matter of law.13 See

Doc. #: 686-1 at 2. They refer the Court to their briefing in Broward County, Florida v. Purdue

Pharma L.P., et al., Case No. 18-op-45332, MDL Doc. #: 582-1. As set forth below, the Court

concludes neither of these doctrines compel dismissal of West Boca’s claims. As a general

principle under Florida law, “[i]ssues of causation are problematic and, under most

circumstances, should be left to the jury.” Simon v. Shearson Lehman Bros., 895 F.2d 1304, 1316

(11th Cir. 1990).

A. Sole Proximate Cause Doctrine

         In their motion to dismiss Broward County’s claims, the Pharmacies assert that, “under

Florida’s ‘sole proximate cause’ doctrine, the intentional misuse of a product such as a

prescription opioid is, as a matter of law, the only legally relevant proximate cause of resulting

injuries.” Doc. #: 582-1 at 3. The Pharmacies assert that “[a]ny injuries that [West Boca] might

try to connect to the Moving Defendants’ conduct necessarily stem from the intentional misuse

of diverted prescription opioids” and must, therefore, be dismissed. Doc. #: 582-1 at 3. Put

simply, the Pharmacies assert the harms identified by West Boca were caused by the patients

12 It seems this third category of damages might be offset entirely by the profit West Boca made on the sale of the
opioid medications to patients. At this stage of the litigation, however, the Court accepts that this third category of
damages does exist.
13 The Court has previously addressed these legal concepts under Ohio and Oklahoma law. See Doc. ##: 1025 at 29-
32, 79-82; 1680 at 6-10. Although not dispositive, the analysis remains instructive and is incorporated herein by
reference.




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who consumed the opioid drugs. The Pharmacies cite three product liability cases to support this

assertion: Labzda v. Purdue Pharma, L.P., 292 F. Supp. 2d 1346, 1356 (S.D. Fla. 2003); Bruner

v. Anheuser-Busch, Inc., 153 F. Supp. 2d 1358, 1361 (S.D. Fla. 2001); and Clark v. Boeing Co.,

395 So. 2d 1226, 1229 (Fla. Dist. Ct. App. 1981).

        All three cases are distinguishable. The Florida Supreme Court has concluded that, under

Florida law, a plaintiff’s knowing misuse of a product does not bar recovery, as a matter of law,

on a products liability claim sounding in negligence, even if that misuse was done in an

unforeseeable manner. Standard Havens Prod., Inc. v. Benitez, 648 So. 2d 1192, 1193 (Fla.

1994). Product misuse, under Florida law, is “a form of comparative negligence.” Id. at 1197.

“Of course, if a court determines as a matter of law, or a jury determines as a matter of fact . . .

that a claimant’s negligence was the sole legal cause of her injury, then, in such event, the

claimant could not recover.” Id. (emphasis added).

        As a threshold matter, West Boca does not assert a products liability claim, so it is not

clear that the sole proximate cause doctrine even applies in the present case. Regardless, Clark is

a Florida Appellate Court decision that was issued before Standard Havens, so to the extent the

two cases conflict, Standard Havens is controlling.14 Similarly, Bruner and Labzda are cases

decided by the Southern District of Florida; but the Supreme Court of Florida remains the

ultimate arbiter of Florida law. See Hortonville Joint Sch. Dist. No. 1 v. Hortonville Educ. Ass’n,

426 U.S. 482, 488 (1976) (“We are, of course, bound to accept the interpretation of [state] law by


14 It is worth noting as well that in Benitez v. Standard Havens Prod., Inc., 7 F.3d 1561, 1565 (11th Cir. 1993), the
case from which the Eleventh Circuit certified the question of whether knowing product misuse was a complete bar
to recover on a products liability claim to the Florida Supreme Court, the Eleventh Circuit distinguished Clark as
being “based on the particular facts of the case and the lack of causation between any alleged defect and the
plaintiff's injuries, not on an absolute bar to recovery for knowing misuse.” Benitez, 7 F.3d at 1565, certified
question answered, 648 So. 2d 1192 (Fla. 1994).




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the highest court of the State.”). Thus, Standard Havens controls to the extent Bruner and

Labzda conflict. In sum, Standard Havens trumps all three cases that defendants cite.

        Moreover, the three cited cases are distinguishable and do not demand dismissal by their

holdings. In Clark, the court clearly articulated the test for finding strict product liability: “The

test is whether or not the product was reasonably safe for its intended use as manufactured and

designed when it left the plant of the manufacturer.” 395 So. 2d at 1229. Here, West Boca has

alleged that opioids are not reasonably safe for at least some of their advertised intended uses,

and Defendants’ misrepresentations caused doctors to prescribe them for other than their safe

uses. See Doc. #: 385 at ¶131 (“Defendants, however, have manufactured, promoted, marketed,

and distributed opioids for the management of chronic pain by misleading consumers and

medical providers.”). In Labzda, the court held that “foreseeable voluntary abuse of a non-

defective product, such as alcohol, results in the legal conclusion that the proximate cause of the

injury to the consumer was his voluntary abuse.”15 292 F. Supp. 2d at 1356 (emphasis added).

Similarly, in Bruner, the court concluded that, although there are dangers associated with the use

of alcohol, “beer is not considered an ‘unreasonably dangerous’ product . . . because of the

common knowledge of these dangers.” 153 F. Supp. 2d at 1360–61 (emphasis added). Here,

West Boca has alleged that the “abuse” by many patients was not voluntary because patients

became addicted even when taking opioids as directed and prescribed by a doctor, and as

advertised by Defendants; and both the doctors and patients were intentionally misled by

Defendants about the dangers of opioids that were legally and “properly” prescribed for large

doses over long periods of time. See, e.g., Doc. #: 385 at ¶131 (quoted above); ¶188.

15 Additionally, as Broward County points out in its own opposition brief (incorporated by West Boca), Labzda was
decided on a full record at summary judgment. Doc. #: 730 at 23 n.16. If the sole proximate cause doctrine did not
preclude Labzda’s claims on a motion to dismiss, there is no reason to believe dismissal is appropriate here.
Causation questions are best left to a jury. Simon, 895 F.2d at 1316.




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Accordingly, Florida’s sole proximate cause doctrine does not demand dismissal of West Boca’s

claims.

B. Learned Intermediary Rule

          The Pharmacies also assert, in their motion to dismiss Broward County’s case, that a

“doctor’s independent prescribing decision supersedes and breaks any causal link back to a

distributor’s prior shipment of the medication to a pharmacy where the patient happened to fill

it.” Doc. #: 582-1 at 4. The cases cited by the Pharmacies to support this assertion conclude that

“[a] manufacturer of a dangerous commodity, such as a drug, does have a duty to warn but when

the commodity is a prescription drug we hold that this duty to warn is fulfilled by an adequate

warning given to those members of the medical community lawfully authorized to prescribe,

dispense and administer prescription drugs.” Buckner v. Allergan Pharm., Inc., 400 So. 2d 820,

822 (Fla. Dist. Ct. App. 1981) (citing Reyes v. Wyeth Laboratories, 498 F.2d 1264 (5th Cir.

1974)) (emphasis added).

          Again, the Defendants’ argument fails. First, the Buckner court’s analysis expressly turns

on whether a drug manufacturer adequately warns a medical professional—precisely what West

Boca alleges manufacturers did not do. Second, the same argument was expressly considered

and rejected by Magistrate Judge Ruiz in the Summit County Report and Recommendation, and

that analysis and conclusion remain applicable here. See Doc. #: 1025 at 29-30 (“the complaint

alleges that prescribing physicians were also targets of the misrepresentations. Given these

allegations, the court declines to find that the physicians’ act of writing prescriptions breaks the

causal chain, as a matter of law, when the very purpose of the Defendants’ alleged scheme was

to achieve exactly that result.”) This Court adopted this part of the Summit County R&R, see

Doc. #: 1203.




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       The cases relied on by the Pharmacies do not purport to relieve a pharmacist—also a

medical expert—from all responsibility stemming from the filling of prescriptions written by

doctors. In fact, the court in Buckner expressly states that “Chapters 458, 465 and 500, Florida

Statutes, evidences legislated public policy to rely on physicians and pharmacists to protect the

consuming public from injury by product use when the product is a prescription drug.” Buckner,

400 So. 2d at 822 n.3 (citing Fla. Stat. Ann. (1979) at §§ 500.02(1) and 500.151 (repealed))

(emphasis added). Nowhere in its opinion does the Buckner court extend the learned

intermediary rule under Florida law to pharmacies, which was the case under Oklahoma law in

the Muscogee case. And even in Muscogee, this Court concluded that the Tribes’ claims against

the Pharmacies, as both dispensers and distributors, would be allowed to proceed to fact

discovery. See Doc. #: 1680 at 7-10. The same result is compelled here.

                                       IV. RICO

       West Boca’s allegations of RICO violations are similar to those alleged by other

plaintiffs in this MDL. Specifically, West Boca alleges that all Defendants conducted and

participated—through various acts of mail and wire fraud and violations of the Controlled

Substances Act (“CSA”)—in the conduct of a False Narrative Enterprise that created the opioid

epidemic and injured West Boca, in violation of 18 U.S.C. § 1962(c). See Doc. #: 385 at ¶¶812-

884. West Boca further alleges each Defendant derived income and invested the proceeds in an

enterprise that injured West Boca, in violation of § 1962(a), and that each Defendant conspired

with one another to do so in violation of § 1962(c). See Doc. #: 385 at ¶¶885-894.

       Nothing in the parties’ briefs convinces the Court to revisit any of its prior analysis of the

applicable RICO standard. See Doc. ##: 1025; 1203. The question is whether and to what extent

that standard should apply differently to a different type of plaintiff (a Hospital) alleging

different types of injuries. In its previous orders, the Court explained that the RICO statute


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should be liberally construed and should apply broadly in civil cases. See Doc. #: 1025 at 12

(citing Boyle v. United States, 556 U.S. 938, 944 (2009)); Doc. #: 1203 at 6 (citing Sedima, SPRL

v. Imrex Co., Inc., 473 U.S. 479, 498 (1985)). The Court also explained that “RICO’s civil-suit

provision imposes two distinct but overlapping limitations on claimants—standing and

proximate cause.” Trollinger v. Tyson Foods, Inc., 370 F.3d 602, 613 (6th Cir. 2004). RICO law

has also been “interpreted to require that a private plaintiff show proximate cause in order to

have standing to sue.” Id. at 612. Thus, as before, the Court will address the Defendants’

proximate cause arguments and then address their standing arguments; this time, however, the

analysis involves claims by a Hospital, not a municipal entity, Indian Tribe, or third-party-payor.

A. Proximate Cause

       Under RICO, proximate cause consists of two distinct elements: foreseeability and

directness. See Perry v. Am. Tobacco Co., 6914 F.3d 845, 850 (6th Cir. 2003) (citing Holmes v.

Sec. Investor Prot. Corp., 503 U.S. 258, 268-69 (1992)) (“Though foreseeability is an element of

the proximate cause analysis, it is distinct from the requirement of a direct injury.”). Directness,

in the proximate cause context, requires both an analysis of the closeness of the relationship

between the asserted injury and the alleged injurious conduct, and an evaluation of public policy

considerations that reflect “‘ideas of what justice demands, or of what is administratively

possible and convenient.’” Holmes, 503 U.S. at 268 (quoting W. Keeton, D. Dobbs, R. Keeton,

& D. Owen, Prosser and Keeton on Law of Torts § 41, p. 264 (5th ed. 1984)).

       As stated previously, the alleged injurious conduct of these Defendants is substantially

similar to that which was alleged by Summit and Cuyahoga Counties in Track One, the first




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Opiate MDL bellwether trial. West Boca’s asserted injuries, however, are different. Where

Summit County alleged thirteen categories of injuries,16 West Boca asserts only three:

             1. Unreimbursed charges for treatment of patients with opioid conditions.
                Doc. #: 385 at ¶55.
             2. Increased operational costs for: (a) providing more and more-complicated care to
                opioid addicts, and (b) dealing with “pill seekers.” Doc. #: 385 at ¶55-58.
             3. Increased costs as a purchaser of opiates from Defendants. Doc. #: #: 385 at
                ¶¶62-63.
        The Court concludes that West Boca has presented sufficient factual allegations that at

least some of their asserted injuries are a foreseeable result of the Defendants’ purported failures

that allegedly created the opioid crisis. However, even when a causal connection is foreseeable,

it is well-settled that a disconnected and efficient intervening cause may break the causal chain.

See Johnson v. Kosmos Portland Cement Co., 64 F.2d 193, 195 (6th Cir. 1933); see also Tardif

v. P.E.T.A., 829 F. Supp. 2d 1219, 1234 (M.D. Fla. 2011) (“[A] Defendant is not liable when a

separate force or action is the active and efficient intervening cause, the sole proximate cause or

an independent cause of the plaintiff's damages.”). On the other hand, “when an intervening

cause is foreseeable to the defendant, he may still be held liable.” Tardif, 829 F. Supp. 2d at

1234.

        The Manufacturer Defendants attempt to rely on the fact that West Boca is legally

obligated to treat patients to conclude that, but for this purported intervening obligation, West

Boca might not have been damaged at all. They assert that “applicable federal and state law

defeats causation because any alleged harm to West Boca stems from these legislative public-

policy decisions.” Doc. #: 691-1 at 5. Thus, according to the Manufacturers, an intervening

legislative public-policy decision breaks the causal chain. The Manufacturers cite no case law to

16 The injuries asserted by Summit County are listed in Doc. #: 1203 at 15-16.




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support this assertion. West Boca, on the other hand, asserts that its legal obligation to treat

patients actually makes it more foreseeable that it would be harmed by the opioid crisis. See

Doc. #: 806 at 17-18. The Court finds West Boca’s argument more persuasive. The Emergency

Medical Treatment and Labor Act (“EMTALA”), 42 U.S.C. § 1395dd, was enacted by congress

in 1986 and requires hospitals to provide, at a minimum, medical screening and stabilization of

every patient’s medical condition prior to transfer. Doc. #: 385 at ¶41. EMTALA and related

state statutes requiring hospitals to treat all patients make West Boca’s injuries, if anything, a

more foreseeable consequence of the Defendants’ actions related to the opioid crisis. Thus, the

Court concludes at least some of West Boca’s asserted injuries are a foreseeable result of

Defendants’ alleged conduct.17

         That the creation of an opioid crisis foreseeably led to increased costs for hospitals,

however, does not end the inquiry. Under RICO law, the injury must also be a direct

consequence of a Defendant’s injurious conduct. No Defendant meaningfully develops any

argument that either the second or third categories of West Boca’s alleged damages are too

tenuous to support proximate cause. The Defendants’ arguments for dismissal of West Boca’s

RICO claims only address the first category of damages – the cost of unreimbursed medical

treatment.18



17 The foreseeability element is evaluated further in the Court’s analysis of West Boca’s negligence claims in
Section IX below.
18 Distributors, for example, assert that “[t]he Hospital’s claimed injuries consist entirely of ‘unreimbursed charges
for its treatment of patients.’” Doc. #: 684-1 at 4 (citing Doc. #: 385 at ¶55) (emphasis added). This assertion is
plainly inaccurate, as it identifies only the first of the three categories of alleged damages. The Defendants’ failure
to argue that the second and third categories of alleged damages are not a direct consequence of their conduct leaves
the Court with no choice but to conclude its prior analyses in its opinions in Summit County and Cleveland Bakers
and Teamsters Health and Welfare Fund, et al., Case No. 1:18-op-45432 (“Cleveland Bakers”), remains valid and
applicable to West Boca’s claims. See Doc. #: 1203; Opinion and Order Regarding Motions to Dismiss Cleveland
Bakers Claims, Doc. #: 3177. The Court concludes now, as it has before, that the Defendants’ alleged behavior—
false marketing and/or failure to prevent diversion—led to the opioid crisis, and the opioid crisis led to West Boca’s



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         Regarding this first category of damages, closer scrutiny under Holmes is warranted.

Some of the Defendants’ arguments regarding the first category of damages are persuasive, and

the Court has some reservations about the viability of this category of claimed damages under

the applicable RICO standard.19

         Defendants rely primarily on two cases, in which hospitals brought claims seeking

damages for unreimbursed medical expenses related to tobacco use: Association of Washington

Pub. Hosp. Districts v. Philip Morris Inc., 241 F.3d 696, 702 (9th Cir. 2001), and Allegheny Gen.

Hosp. v. Philip Morris, Inc. 228 F.3d 429, 435 (3d Cir. 2000). In both cases, the plaintiffs’

claims were dismissed. However, the circuit courts analogized the plaintiffs’ claims to the claims

of third-party payors. After carefully reviewing and comparing the complaints of West Boca and

Cleveland Bakers, Doc. #: 3031, the Court is not convinced that the claims are, in fact, similar.

Thus, the third-party payor cases cited by West Boca and the Defendants may be of limited

value.20



injuries. Thus, West Boca has alleged a foreseeable and sufficiently direct chain of causation to cross the plausibility
threshold. See Doc. #: 1203 at 7-10; Doc. #: 3177 at 24-27.
The motion to dismiss standard precludes dismissal if there is any set of facts upon which relief may be available.
Because West Boca has alleged a set of facts upon which relief can be granted (relief being compensation for the
second and third categories of asserted injuries, for example), the Court will allow West Boca’s RICO claim to
survive Defendants’ motions to dismiss with respect to unreimbursed medical expenses as well. But the Court
expects its concerns regarding these different categories of damages, described further below, will be addressed on a
more fulsome factual record at summary judgment.
19 As mentioned below, the Court’s concern regarding the viability of the first category of alleged damages attaches
to all of West Boca’s claims, not just its RICO claims.
20 Distributors rely heavily on International Brotherhood of Teamsters, Local 734 Health & Welfare Trust Fund v.
Philip Morris Inc., 196 F.3d 818 (7th Cir. 1999). See Doc. #: 684 at 5-6. Brotherhood of Teamsters is even less
instructive. Where Allegheny and Washington Public are hospital cases, Brotherhood of Teamsters is a third-party
payor case. Furthermore, all three cases arise out of the tobacco litigation. In Brotherhood of Teamsters, the Seventh
Circuit concluded that “[t]he problem for [the third-party payor plaintiffs] is . . . that they do not deal with tobacco
producers, the supposed wrongdoers.” Id. at 827. Here, West Boca asserts that it does deal directly with “supposed-
wrongdoer” opioid manufacturers. And given the litany of other legal and factual distinctions that, in this Court’s
view, were not adequately briefed or were overlooked entirely, it is not clear whether or to what extent Brotherhood
of Teamsters is applicable at all, let alone to the Distributors.




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         The factual and legal distinctions between third-party payors and hospitals are manifest.

As a general matter, when West Boca provides care to a patient, West Boca becomes a creditor

to that patient, who in turn owes a debt to West Boca for services rendered. It is not uncommon,

therefore, for hospitals to sell patient debt to a collection agency or to bring a creditor lawsuit

against the patient. It is, thus, also not surprising that courts have found medical debt is consumer

debt under various statutes. See, e.g., Baisden v. Credit Adjustments, Inc., 813 F.3d 338 (6th Cir.

2016) (Telephone Consumer Protection Act (“TCPA”)); Mais v. Gulf Coast Collection Bureau,

Inc., 768 F.3d 1110 (11th Cir. 2014) (Fair Debt Collection Practices Act (“FDCPA”)).

         This creditor-debtor relationship is factually distinct from the legal relationship that exists

between a third-party payor and its members. While a hospital provides a service and then seeks

compensation from the patient (regardless of whether the patient has a right to recover from a

third-party tortfeasor or not), a third-party payor generally has a subrogation right to recover

medical expenses from a third-party tortfeasor on its member’s behalf. A hospital, so far as the

Court is aware, has no analogous right; and West Boca does not argue that it does.21 On this

point, Defendants assert there is long-standing, common-law precedent that hospitals do not have

West Boca, on the other hand, relies heavily on In re Neurontin Marketing and Sales Practices Litig.,712 F.3d 21
(1st Cir. 2013). See Doc. #: 806 at 6-7; 12; 16; 18. Unlike the tobacco cases mentioned above, Neurontin is a
pharmaceutical case and is noteworthy for its acceptance of aggregate evidence to prove RICO causation. While this
Court has stated it will allow Plaintiffs to use aggregate evidence to attempt to prove causation in the RICO context,
it is also worth noting there are important differences between Neurontin and the opioid cases. For example, in
Neurontin, plaintiff Kaiser used aggregate data to link marketing activity of a single manufacturer’s single drug to a
single alleged injury (payment for off-label prescriptions) by a single plaintiff. The First Circuit concluded that
Kaiser’s regression analysis, in conjunction with other non-aggregate-data evidence, was sufficient to prove
causation and not just correlation. See Neurontin, 712 F.3d at 46. In contrast, in the opioid litigation there are many
manufacturers that marketed many different opiate drugs to many plaintiffs, who seek many types of damage. For
example, opioid cases include non-marketing theories of liability against Distributors and Pharmacies, and many
categories of injury that were not at issue in Neurontin. Ultimately, due to the more complex nature of the MDL
cases, the causation analysis accepted by the First Circuit in Neurontin may have no application in opioid litigation.
21 West Boca does, however, argue that many states have enacted hospital lien laws, which allow hospitals to claim
a portion of a legal award that an uninsured patient might receive for their accident if West Boca attaches the lien
within a specified time period. Doc. #: 385 at ¶61. If anything, this heightens the Court’s concern that allowing West
Boca to pursue the first category of damages would lead to double recovery against the Defendants.




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a direct cause of action in tort against a tortfeasor who allegedly injures the patient, even if it

imposes increased costs on the hospital. Doc. #: 684-1 at 4 (citing United Food & Commercial

Workers Unions, Employers Health & Welfare Fund v. Philip Morris, Inc., 223 F.3d 1271, 1274

(11th Cir. 2000)). Thus, it appears that, while a third-party payor may pursue a claim against a

third-party tortfeasor who injures a patient-insured, a hospital’s only claim is against the patient.

Unfortunately, this distinction is not briefed by the parties or carefully drawn in the tobacco

cases cited by Defendants.22

         At least with respect to unreimbursed charges for medical treatment, this distinction

places West Boca’s injury at least one step further removed from the injurious conduct of the

Defendants. The Holmes factors are thus implicated regarding the first category of West Boca’s

alleged damages in a way that West Boca’s other alleged categories of injuries are not. In

Holmes, the Supreme Court articulated three policy concerns that arise when an injury is not a

sufficiently direct result of a defendants’ conduct:

         First, the less direct an injury is, the more difficult it becomes to ascertain the
         amount of a plaintiff’s damages attributable to the violation, as distinct from
         other, independent, factors. Second, quite apart from problems of proving factual
         causation, recognizing claims of the indirectly injured would force courts to adopt
         complicated rules apportioning damages among plaintiffs removed at different
         levels of injury from the violative acts, to obviate the risk of multiple recoveries.
         And, finally, the need to grapple with these problems is simply unjustified by the
         general interest in deterring injurious conduct, since directly injured victims can
         generally be counted on to vindicate the law as private attorneys general, without
         any of the problems attendant upon suits by plaintiffs injured more remotely.

Holmes, 503 U.S. at 269–70 (internal citations omitted).


22 The Ninth Circuit, in Washington Public, in the factually-distinct context of tobacco litigation, acknowledges the
difference between third-party payors and healthcare providers, but concludes it is immaterial. 241 F.3d at 702
(“The fact that Plaintiff Districts are health care providers rather than third party health care payers like the union
trusts in Oregon Laborers is immaterial for purposes of RICO and antitrust standing.”). The Third Circuit, in
Allegheny, does not even draw the distinction. 228 F.3d at 435 (“Plaintiffs raise antitrust and RICO claims that are
essentially identical to those the union funds raised in Steamfitters. Therefore, Steamfitters controls.”).




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        The first Holmes factor is applicable to the present analysis.23 West Boca alleges its

unreimbursed costs have increased due to an increase in both: (1) hospitalizations for opioid-

related injuries (e.g. overdoses) and (2) the cost of providing care for “normal” conditions

exacerbated by opioid use (e.g. child-birth). West Boca asserts that instances like the latter are

made more complicated and expensive when the patient has an opioid use disorder. While it is

likely relatively easy to ascertain damages in the former situation—that the care provided for an

opioid overdose is easily attributable to the opioid crisis—the latter situation is more

complicated.

        Child birth presents a good illustration of the potential difficulty. If a woman is

considered a high-risk pregnancy due to advanced age or a preexisting medical condition, but is

also addicted to opioids, it is not clear to the Court how it will be possible to distinguish what

portion of West Boca’s increased costs for those pregnancy services will be attributable to one

complicating factor over any other. Nevertheless, such apportionment is rightfully the subject of

expert discovery, and the Court will allow that discovery to occur.

        Despite these reservations, the situation in this case is not that meaningfully different

from Summit County and Cleveland Bakers. In those cases, the Court also expressed its

reservations about the viability of certain categories of damages. In each case, however, where

the plaintiff had alleged at least one category of damages that set forth a plausible claim for

relief, the Court declined to dismiss the entire claim. See Doc. #: 1203 at 15-16; Doc. #: 3177 at

35-36. The same conclusion is equally appropriate here. Therefore, the Court concludes West




23 Because of the overlap between proximate cause and standing with respect to RICO, the second and third Holmes
factors are addressed in Section IV.B below.




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Boca has sufficiently alleged at least one plausibly direct and foreseeable chain of causation from

injurious conduct to alleged injury to survive a motion to dismiss for lack of proximate cause.

B. Standing

       Having determined that West Boca’s injures are not too far removed from Defendants’

conduct, the Court turns to the standing analysis—that is, whether hospitals are the appropriate

plaintiffs to bring these claims. As the Court has previously articulated:

       Title 18 of the U.S. Code, section 1964(c), has been deemed the standing
       provision of RICO. It provides that “[a]ny person injured in his business or
       property by reason of a violation of section 1962 of this chapter may sue therefor
       . . . and shall recover threefold the damages he sustains and the cost of the suit,
       including reasonable attorney’s fee.” 18 U.S.C. § 1964(c). The two operative
       portions of this section are the “business or property” limitation and the “by
       reason of” limitation.

       “The ‘by reason of’ limitation . . . bundles together a variety of ‘judicial tools,’
       some of which are traditionally employed to decide causation questions and some
       of which are employed to decide standing questions.” Trollinger, 370 F.3d at 613
       (citing Holmes, 503 U.S. at 268.). As it pertains to standing, the “by reason of”
       limitation is used to analyze whether a plaintiff is asserting an injury that was
       borne directly by that plaintiff or whether the injury was “derivative or passed-
       on” to the plaintiff by some intermediate party. See id. at 614.

                                               ***

       Even if Plaintiffs’ asserted injuries were proximately and directly caused “by
       reason of” Defendants’ alleged injurious conduct, Plaintiffs still may not bring a
       RICO claim if the injuries asserted were not to their “business or property.” 18
       U.S.C. § 1964(c). As a general principal, “money, of course, is a form of
       property.” Reiter v. Sonotone Corp., 442 U.S. 330, 338 (1979). It is also true that,
       “[a] person whose property is diminished by a payment of money wrongfully
       induced is injured in his property.” County of Oakland v. City of Detroit, 866 F.2d
       839, 845 (6th Cir. 1989) (quoting Chattanooga Foundry and Pipe Works v. City
       of Atlanta, 203 U.S. 390, 396 (1906)).

Doc. #: 1203 at 10-11; 12-13.

       Defendants rely heavily on Jackson v. Sedgwick Claims Mgmt. Services, 731 F.3d 556

(6th Cir. 2013), to argue that West Boca has not alleged any injury to any business or property,

but has instead only alleged injuries that flow from the personal injuries of its patients. See


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Doc. ##: 684-1 at 9; 691-1 at 2. However, as articulated in its Summit County Opinion, the Court

believes Jackson is factually distinct from these opioid cases generally, and also disagrees with

Defendants’ characterization of the law as set forth by the Sixth Circuit in Jackson. Doc. #: 1203

at 13. It is true that Jackson stands for the proposition that “personal injuries and pecuniary

losses flowing from those personal injuries fail to confer relief under § 1964(c).” Jackson at 565-

66. However, after carefully reviewing the facts of Jackson and the several cases cited therein,

the Court concluded that a pecuniary loss “flows from” a personal injury “when the alleged

RICO injury merely acts as an alternate theory for recovering damages otherwise available in a

tort claim for personal injury and is asserted by the plaintiff him- or herself.” Doc. #: 1203 at 14.

       Here, West Boca is in the business of providing a service. Its asserted injuries stem from

(1) not being adequately compensated for the services provided, (2) the increased operational

costs of providing those services, and (3) the increased cost of purchasing supplies necessary for

the provision of those services, respectively. These categories of injuries are injuries to business

or property. That West Boca is in the business of providing healthcare services, does not make

its injuries “derivative” of personal injuries, because “[i]f any claim merely derivative of a

personal injury barred RICO liability, then . . . doctors, hospitals, and any number of nonprofits

directly injured in their business dealings involving personal injuries would as well. This is not

how the Court interprets the holding in Jackson.” State Farm Mut. Auto. Ins. Co. v. Universal

Health Grp., Inc., No. 14-CV-10266, 2014 WL 5427170, at *8 (E.D. Mich. Oct. 24, 2014)

(emphasis added).

       Furthermore, operational costs such as “capital improvement costs,” “additional security

costs,” and “additional training and educational costs for hospital personnel,” Doc. #: 806 at 34-

35. (citing Doc. #: 385 at ¶¶51-58), as well as costs associated with being falsely induced to




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purchase and prescribe more opioid pills than were appropriate, are direct costs to hospitals that

allegedly were borne as a result of the opioid crisis itself, not simply as a result of treating

injured patients. Doc. #: 806 at 7-8. As alleged, these are classic business costs.

       Again, however, the Court must draw what it views as an important distinction between

unreimbursed medical expenses and the other two asserted categories of injury. In the case of

unpaid medical bills, it is not entirely clear that the medical expenses injury does not belong, in

whole or in part, to the patients. That is, in terms of RICO law, it is not immediately apparent

that West Boca’s alleged injury from the provision of unreimbursed medical services was caused

“by reason of” a substantive RICO violation, or instead that this particular category of injury was

“passed-on” by the injured patients (specifically those patients’ inability to pay for the services

rendered).

       As stated in the proximate cause section above, the Defendants maintain that a hospital

does not have a direct cause of action in tort against a tortfeasor who allegedly injures the

patient. Doc. #: 684-1 at 4 (citing United Food, 223 F.3d at 1274). The Third Circuit in

Allegheny Gen. Hosp. articulated the slippery slope that forms the policy rationale behind this

argument. See Allegheny Gen. Hosp., 228 F.3d at 445 (“The Hospitals are dangerously close to

asserting that they have standing to sue any company that causes a nonpaying patient’s disease or

illness.”). As a general matter, the Court is concerned, as was the Third Circuit, about the

precedent of allowing healthcare providers to recover the increased costs of providing care to

their allegedly wrongfully-injured patients. While the opioid crisis is inarguably unlike any mass

tort this country has ever faced, the Court is skeptical that it should attempt to engage in the type

of line-drawing necessary to determine what type of crises a defendant would need to create in




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order to give hospitals standing to sue that defendant for the unreimbursed costs of treating such

a crisis, especially where individual plaintiffs are also attempting to vindicate their own rights.

         In this MDL alone, there are scores of cases brought by individual parties seeking

compensation for various damages, including their medical bills. If hospitals are damaged by

patients not paying their medical bills, their remedy—as discussed above—should be to seek

compensation from the patients who are not paying those bills. To the extent the Defendants are

liable to the patients for the costs of medical bills, it ought to be the patients’ responsibility to

hold the Defendants liable as “private attorneys general.”24 See Holmes, 503 U.S. at 269-70. The

Court is concerned it might be forced to establish a complicated remedial scheme to adequately

apportion damages between patients and hospitals, so that Defendants will not be subject to

duplicative recoveries from each. This is the exact problem about which the second and third

Holmes factors caution, see id., and, as Defendants point out, something courts in the tobacco

cases nearly unanimously declined to do.

         Nevertheless, West Boca asserts that reliance on prior tobacco cases as precedent for the

opioid crisis is misplaced and articulates nine paragraphs of factual distinctions between their

opioid case and the tobacco cases. See Doc. #: 806 at 19-21. While the Court is hesitant to find

that hospitals have standing to bring a RICO claim for their unreimbursed medical expenses, the

Court will allow the RICO claim with respect to this injury to proceed for two reasons. First, in

the municipality cases, the Tribe cases, and the third-party payor case, the Court concluded it

would not (at the motion to dismiss stage) draw distinctions between the various alleged

categories of injuries. Such distinctions regarding damages are better drawn after discovery has

24 Interestingly, it is Defendants who assert that those patients cannot, in fact, seek compensation for their medical
expenses and thus vindicate the law as private attorneys general in the interest of deterring injurious conduct.
See, e.g., Doc. #: 684-1 at 1 (“[T]hese victims brought claims against the prescription-opioid manufacturers . . .
seeking recovery of personal-injury damages. As far as Distributors are aware, those claims all failed.”).




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fleshed out the factual record. Second, as West Boca carefully points out, there are a large

number of factual distinctions between opioid cases and tobacco cases generally, and some of

those factual distinctions may reasonably require further development. Thus, because the RICO

claim is plausible on at least one theory of damages and because West Boca raises significant

factual issues not suitable for resolution on a motion to dismiss, discovery will proceed as to the

entire claim.

         As a final thought, neither the tobacco cases cited by the parties, nor the parties’ briefs,

adequately draw any meaningful distinctions between hospitals’ asserted injuries and those of

third-party payors. The parties should have an opportunity to address the factual distinctions

between hospitals, third-party payors, and municipalities with respect to the injuries alleged and

with respect to the legal standard articulated by the Court. Thus, the Court concludes that West

Boca has standing to bring its RICO claims against these Defendants.

C. Other RICO Arguments

         1. Previously Addressed RICO Arguments

         Defendants make several arguments that the Court has addressed in prior orders. The

Defendants assert that reporting-based violations of the CSA cannot constitute predicate acts

under RICO;25 that West Boca did not adequately plead the existence of a RICO enterprise;26 and

that West Boca failed to adequately plead an agreement sufficient to support a RICO conspiracy

claim under § 1962(d).27 The Defendants also argue that West Boca’s allegations of mail and




25 See Doc. #: 961-1 at 5.
26 See Doc. #: 961-1 at 4; Doc. #: 684-1 at 11-12.
27 See Doc. #: 961-1 at 7-8; Doc. #: 684-1 at 13.




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wire fraud do not meet the heightened pleading requirements under Rule 9(b) of the Federal

Rules of Civil Procedures, and constitutes impermissible “group pleading.”28

         The Court has addressed the merits of each of these arguments before. See Doc. #: 1025

at 36-39 (existence of an enterprise), 39-48 (predicate acts), 39-42 (Rule 9(b)), 37-44 (conspiracy

generally), 97-98 (conspiratorial agreement);29 Doc. #: 1680 at 2-4 (Rule 9(b)), 4-5 (group

pleading); see also Opinion and Order Regarding Conspiracy claims, Doc. #: 2562 (setting out

an analysis of the alleged agreement between many of the same Defendants on substantially

similar factual allegations); Opinion and Order Regarding RICO claims, Doc. #: 2580 at 2-3

(CSA violations as predicate acts), 3-6 (existence of an enterprise); Evidentiary Order Regarding

Track One Pretrial Motions, Doc. #: 3058 at 24 (CSA violations as predicate acts).

         Upon careful review of the parties’ briefs, the Court concludes its prior analyses apply

with equal force to the facts alleged in West Boca’s complaint. Accordingly, the Court

incorporates its legal analyses from the aforementioned orders and rejects the Defendants’

contentions that dismissal is mandated in this action by inadequate pleading of (1) the existence

of an enterprise, (2) predicate acts, (3) conspiratorial agreement,30 or (4) Fed. R. Civ. P. 9(b)’s

particularity requirement.


28 See Doc. #: 961-1 at 5; Doc. #: 684-1 at 10; Doc. #: 686-1 at 3-4. Federal Rule 9(b) is also analyzed in section
VI.C below regarding West Boca’s FDUTPA claims.
29 The R&R of the Magistrate Judge with respect to the analysis of these sections was adopted by the Court. See
Doc. #: 1203.
30 It is not clear from West Boca’s complaint or from briefing by the parties whether West Boca’s RICO conspiracy
claim under 18 U.S.C. § 1962(d) is premised solely upon its § 1962(a) claim, or whether West Boca also intended to
allege a conspiracy to commit a substantive violation of § 1962(c). By the express language of paragraph 893 of the
Complaint, West Boca’s second cause of action appears to be premised on the § 1962(a) claim alone, which as
discussed below, must be dismissed. Doc. #: 385 at ¶893 (“In violation of Section 1962(d) of RICO, 18 U.S.C. §
1962(d), Defendants, with full knowledge and purpose, conspired to violate Section 1962(a) of RICO.”). However,
given that (1) all parties briefed the issue as though the conspiracy claim applied to both §§ 1962(a) and (c), and (2)
there appear to be sufficient allegations within the complaint addressing § 1962(c) to support a claim for conspiracy
to violate that section, the Court assumes West Boca's conspiracy claim is premised upon both §1962(a) and (c).
See, e.g., Doc. #: 385 at ¶773.




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        2. Pharmacy Liability Under RICO

        The Pharmacy Defendants assert that:

        [i]f anything, Plaintiff’s RICO claims against [the Pharmacies] are even more
        implausible than RICO claims against the other defendants. Whatever the other
        bellwether plaintiffs may have believed to be the merits of a RICO claim against
        the manufacturer or major distributor defendants, they have uniformly recognized
        that no such claim is feasible against the Moving Defendants. Alone among the
        bellwether plaintiffs, Plaintiff here asserts RICO claims against the Moving
        Defendants as well.

Doc. #: 686-1 at 3. The Pharmacies’ argument appears to be that, since no other plaintiffs alleged

RICO claims against them, West Boca’s claims against them should be dismissed. This is, of

course, not the legal standard for a motion to dismiss. The Court is not persuaded by what claims

may or may not have been filed by other types of plaintiffs in other cases (e.g., municipal entities

or Tribes), but instead must look at the plausibility of what the Plaintiff in this case actually

alleged in its complaint.

        The Pharmacy Defendants also assert, conclusorily, that “to whatever extent Plaintiff

intended to assert claims against the Moving Defendants as pharmacies rather than as

distributors, its pleading does not pass muster under Bell Atl. Corp. v. Twombly, 550 U.S. 544

(2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009).” Doc. #: 686-1 at 2. This assertion is plainly

inaccurate.31

        In its response, West Boca asserts that the Pharmacy Defendants “participated in the

False Narrative conspiracy through their intentional acts designed (among other things) to

conceal conspicuous anomalies in the distribution patterns of opioids, and reaped tremendous


31 See, e.g., Doc. #: 385 at ¶155 (noting the defendants are being sued “to the extent that they are engaged in the
manufacture, promotion, distribution, sale and/or dispensing of opioids”) (emphasis added); Doc. #: 385 at ¶¶663-
717 (describing in detail that the National Retail Pharmacies “business includes the distribution and dispensing of
prescription opioids.”).




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profits in the process.” Doc. #: 806 at 22-23; (citing Doc. #: 385 at ¶¶870 (alleging a common

purpose); 509-514, 519-569 (alleging breach of duty to prevent diversion by Distributors); 663-

707 (alleging breach of duty to prevent diversion by National Retail Pharmacies). These

allegations are sufficient to state plausible claims against and provide notice to the Pharmacies as

distributors and dispensers of opioids generally, and also with respect to West Boca’s RICO

claim as described above.

D. Investment Injury Under 18 U.S.C. § 1962(a)

       Defendants assert that West Boca’s Section 1962(a) claim fails because West Boca does

not allege an injury specifically caused by any of the Defendants’ investment of income obtained

through racketeering activity. See Doc. #: 684-1 at 12-13; Doc. #: 961-1 at 67. For the reasons

that follow, the Court agrees.

       Section 1962(a) of RICO provides in relevant part:

       It shall be unlawful for any person who has received any income derived, directly
       or indirectly, from a pattern of racketeering activity . . . to use or invest, directly
       or indirectly, any part of such income, in acquisition of any interest in, or the
       establishment or operation of, any enterprise which is engaged in, or the activities
       of which affect, interstate or foreign commerce.

18 U.S.C. § 1962(a).

       A majority of Circuits, including the Sixth, have concluded that, “in order to state a claim

under § 1962(a), a plaintiff must plead a specific injury to the plaintiff caused by the investment

of income into the racketeering enterprise, distinct from any injuries caused by the predicate acts

of racketeering.” Vemco, Inc. v. Camardella, 23 F.3d 129, 132 (6th Cir. 1994) (citing Craighead

v. E.F. Hutton & Co., Inc., 899 F.2d 485, 494 (6th Cir.1990)); see also Beck v. Prupis, 529 U.S.

494, 506 n.9 (2000) (while expressing no view on the issue, noting that “most courts of appeals

have adopted the so-called investment injury rule, which requires that a plaintiff suing for a




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violation of § 1962(a) allege injury from the defendant’s ‘use or invest[ment]’ of income derived

from racketeering activity”) (citing Vemco, 23 F.3d at 132).

         When an enterprise receives the proceeds of its racketeering activity against a plaintiff,

and then merely reinvests the proceeds of its racketeering activity in itself so that it can continue

to operate (and presumably further injure the plaintiff via continued racketeering activity), such

investment does not give rise to a § 1962(a) claim under the majority rule. This is because,

         [o]ver the long term, corporations generally reinvest their profits, regardless of the
         source. Consequently, almost every racketeering act by a corporation will have
         some connection to the proceeds of a previous act. Section 1962(c) is the proper
         avenue to redress injuries caused by the racketeering acts themselves. If plaintiffs’
         reinvestment injury concept were accepted, almost every pattern of racketeering
         activity by a corporation would be actionable under § 1962(a), and the distinction
         between § 1962(a) and § 1962(c) would become meaningless.

Brittingham v. Mobil Corp., 943 F.2d 297, 305 (3d Cir. 1991), overruled on other grounds by

Jaguar Cars, Inc. v. Royal Oaks Motor Car Co., 46 F.3d 258 (3d Cir. 1995). Thus, under the

majority rule, a plaintiff may have standing under § 1962(a) in one of two ways. A plaintiff can

allege that a defendant either: (1) used or invested its ill-gotten racketeering income in a separate

enterprise that injured the plaintiff;32 or (2) used for itself or invested in itself ill-gotten

racketeering income from prior separate racketeering activity, thus allowing it to injure the

plaintiff.33




32 See Ideal Steel Supply Corp. v. Anza, 652 F.3d 310, 322 (2d Cir.2011) (reversing dismissal of § 1962(a) claim
upon conclusion that defendant, Anza, defrauded the State of New York (a prior victim) out of tax revenue and
subsequently invested the ill-gotten racketeering income into a new enterprise, Easton Corporation, in order to
purchase property for a competing store that directly injured plaintiff, Ideal Steel).
33 See Vemco, 23 F.3d at 131 (distinguishing Newmyer v. Philatelic Leasing, Ltd., 888 F.2d 385 (6th Cir.1989)). In
Newmyer, the Sixth Circuit reversed dismissal of plaintiffs’ § 1962(a) claim where “Newmyer plaintiffs could have
been injured by the investment itself if the investment plan into which they put their money (i.e., the enterprise) was
itself funded with monies from prior racketeering against prior victims” concluding that “an injury resulting from
the investment of racketeering proceeds itself was possible.” Id. (emphasis added).




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        The question at issue here, then, is whether any of West Boca’s asserted injuries stem

from some investment of the Defendants allegedly ill-gotten income. The Court concludes that,

as alleged in West Boca’s Complaint, they do not. West Boca expressly alleges that “Defendants,

having income derived, directly or indirectly, from a pattern of racketeering, in which it

participated as a principal within the meaning of l8 U.S.C. § 2, used or invested, directly or

indirectly, part of such income in itself, an enterprise.” and that West Boca “was injured . . .

through the above-referenced acts of racketeering” Doc. #: 385 at ¶¶892; 894 (emphasis added).

Thus, West Boca expressly asserts that the Defendants merely reinvested their allegedly ill-

gotten racketeering income in themselves as enterprises and used that reinvestment to further

propagate their alleged pattern of racketeering activity (false marketing and failure to prevent

diversion). Under controlling Sixth Circuit precedent, these allegations are insufficient to confer

standing on West Boca to assert a §1962(a) claim. West Boca’s Second Claim for Relief must

be dismissed.34

                                            V. Nuisance

        West Boca alleges the opioid epidemic is a public nuisance. Doc. #: 385 at ¶153.

Specifically, West Boca asserts “[t]he nuisance is the over-saturation of opioids in the patient

population of [West Boca] and in the geographic area served by [West Boca] . . . , as well as the

adverse social, economic, and human health outcomes associated with widespread illegal opioid

use.” Doc. #: 385 at ¶991. West Boca alleges that Defendants “substantially participated in




34 West Boca attempts to rely on Busby v. Crown Supply, Inc., 896 F.2d 833, 837 (4th Cir. 1990), to support its
assertion that it need not plead a distinct investment injury to bring a claim under § 1962(a). Busby cannot help
West Boca. The Fourth Circuit is one of the few circuits not following the majority rule, and this Court is bound to
follow controlling Sixth Circuit precedent. See Vemco, 23 F.3d at 132.




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nuisance-causing activities” through facilitating the sale of prescription opioids and failing to

maintain effective controls to prevent diversion to the general public. Doc. #: 385 at ¶¶992-994.

         As with RICO, many of Defendants’ arguments for dismissal were raised and ruled upon

in other actions in this MDL. Although most of those actions, Summit County, Muscogee (Creek)

Nation, and Blackfeet Tribe, involve governmental entities, at least one action, Cleveland Bakers,

was brought by a private plaintiff. Florida, like Ohio, follows the Restatement (Second) of Torts,

so in order for West Boca to have standing to assert a public nuisance claim, it must assert a

“special or peculiar injury to an individual different in kind and not merely in degree from the

injury to the public at large.” Brown v. Fla. Chautauqua Ass’n, 59 Fla. 447, 451 (1910); see also

Fla. Wildlife Fed’n v. State Dep’t of Envtl. Regulation, 390 So. 2d 64, 67 (Fla. 1980).

         Defendants assert West Boca has not alleged any injury that is different from that

suffered by the general public. In addition, Defendants also assert: (1) they lacked control over

the instrumentality of the nuisance; (2) West Boca’s injuries are not connected to the use and

enjoyment of property; and (3) West Boca has not alleged an interference with a public right.

Finally, Defendants assert their actions are protected by a Florida “Safe Harbor” law.35 The

Court addresses each assertion below.

         First, Defendants assert “West Boca’s injuries are merely derivative, and, for that reason,

they are not different or special, but the same as the alleged ‘public’ injury.” Doc. #: 684-1 at 15.

As described in Section IV.B. above, however—at least with respect to increased operational

costs and direct purchase of excess opioid pills—West Boca has alleged concrete economic

costs, unique to hospital entities, that are different than the alleged interference with human

35 Defendants also assert West Boca has not sufficiently alleged the Defendants proximately caused the alleged
injuries. Causation is addressed in multiple locations throughout this opinion and the Court found it was alleged
sufficiently in each instance. See, e.g., Sections III. IV.A; and VI.C.2. For the same reasons, it is alleged sufficiently
here.




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health outcomes suffered by the general public as a result of the opioid crisis. Therefore, as in

Cleveland Bakers, and subject to the Court’s prior analysis that the unreimbursed costs of

medical care may not be West Boca’s injury to assert, the Court concludes that “Plaintiffs have

plausibly pled they sustained concrete economic losses differing in kind from the generalized

injury to public health, safety, and wellness suffered by the general public as a consequence of

the multi-faceted opioid crisis.” Doc. #: 3177 at 43.

       Next, with respect to Defendants’ arguments regarding control over the instrumentality of

the nuisance and interference with a public right, the Court has carefully addressed each of these

arguments in prior orders and nothing in the parties’ briefs here convinces the Court to revisit

that analysis. See, e.g., Doc. #: 1680 at 19 (concluding that “Defendants had control over the

instrumentality of the nuisance by virtue of their control over their own opioid marketing,

distribution, or dispensing practices.”) (adopting Doc. #: 1499 at 57; Doc. #: 1500 at 31);

Doc. #: 1680 at 18-19 (reviewing the Restatement (Second) of Torts § 821B and concluding that

“‘public health’ has traditionally been considered a ‘public right.’”) (adopting Doc. #: 1499 at

59-61 and Doc. #: 1500 at 28-30); see also Doc. #: 3177 at 45 (same).

       Distributor Defendants also assert that nuisance law in Florida requires an interference

with the use and enjoyment of property. In support of this conclusion, Distributors cite an

unreported Florida circuit court decision concluding that “[p]ublic nuisance does not apply to the

design, manufacture, and distribution of a lawful product.” Doc. #: 591-1 at 9 (citing Penelas v.

Arms Tech., Inc., No. 99-1941 CA-06, 1999 WL 1204353, at *4 (Fla. Cir. Ct. Dec. 13, 1999),

aff'd, 778 So. 2d 1042 (Fla. Dist. Ct. App. 2001)). Even if the Court found this Florida trial court

decision persuasive (much less precedential), the case still does not require a nuisance claim to

allege interference with the use and enjoyment of land.




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         In response to this argument, West Boca refers the Court to Estep v. State ex rel. Caro,

where the Florida Supreme Court concluded that “the practice of medicine by one without a

license and also without learning and skill in treating the sick is a nuisance per se.”36 156 Fla.

433, 434 (1945). While also not directly on point, this opinion from the state’s highest court

suggests that Florida allows for at least some non-property-related nuisance claims. As dictated

by the Court’s prior application of the Erie doctrine to nuisance law, West Boca’s argument is

better taken. See Doc. #: 1680 at 11-13; 16-17 (adopting and expanding on the analysis from

Doc. ##: 1499; 1500). The Court concludes that Florida nuisance law does not require an

interference with the use and enjoyment of property.

         Finally, regarding Florida’s “safe harbor,” the parties implicitly agree that, to whatever

extent Florida law incorporates a safe harbor provision for the manufacture, distribution, or sale

of lawful products, the Court’s prior analysis under Ohio law is controlling. See Doc. ##: 684-1

at 14-17; 686-1 at 4;37 691-1 at 15-17; 806 at 31-39 (each Party expressly incorporating Summit

County briefs by reference). The Court has previously concluded under Ohio and Montana law

that “‘safe harbor’ immunity from absolute nuisance liability is available only to those who

perform in accord with their applicable licensing regulatory obligations. The Complaint alleges

Defendants did not comply with the regulatory scheme, but rather violated it.” Doc. #: 3177 at

47. The Court concluded in those cases, as it does here, that West Boca’s complaint sufficiently


36 West Boca refers the Court to Broward County’s Opposition Response to the Defendants’ Motions to Dismiss.
Doc. #: 703 at 17-18. Broward County cites Estep.
37 Pharmacy Defendants give short shrift to their own motion to dismiss West Boca’s public nuisance claim. The
entirety of their briefing on the issue consists of the following sentence: “The Moving Defendants’ brief in Broward
County explains why Florida law does not allow Plaintiff’s nuisance claim. See Moving Defs. Broward County Br.
9-10.” The Pharmacies’ Broward County brief subsequently incorporates the Summit County brief by reference. See
Doc. #: 582-1 at 9. Overlooking the differences in types of plaintiffs and the law of the different states at issue in
these cases, the Court can only assume that the Pharmacies accept the Court’s analysis in Summit County as
applicable to its motion to dismiss West Boca’s claims.




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pleads conduct that is incompatible with defendants’ statutory authority and that the nuisance

claim is therefore viable.38 See Doc. #: 3177 at 46-47 (citing Doc. #: 1680 at 17-18, concurring

with the analysis of Doc. #: 1500 at 26-28). Accordingly, the Court concludes West Boca has

sufficiently alleged an actionable public nuisance claim.

                VI. Florida’s Deceptive and Unfair Trade Practices Act

A. Plaintiff’s FDUTPA Claims Against All Defendants

        West Boca’s Third Claim for Relief alleges each Defendant engaged in “unfair or

deceptive acts or practices” in violation of Florida’s Deceptive and Unfair Trade Practices Act

(“FDUTPA”), Fla. Stat. Ann. § 501.201, et seq. (2007). Doc. #: 385 at ¶¶895-913. Specifically,

West Boca alleges:

        [e]ach of the Defendants have engaged in unfair and/or deceptive trade practices
        by omitting the material fact of its failure to design and operate a system to
        disclose suspicious orders of controlled substances (“SOMS”), as well as by
        failing to actually disclose such suspicious orders, as required of ‘registrants’ by
        the federal CSA, 21 C.F.R. § 1301.74(b), which is incorporated into Florida law
        by the FLDCA [Drug and Cosmetic Act], including Fla. Stat. § 499.0121.

Doc. #: 385 at ¶902. West Boca further asserts that Defendants’ violations of the

FDUTPA “offend Florida’s public policy, are immoral, unethical, oppressive and

unscrupulous, as well as malicious, wanton and manifesting of ill will,” thereby causing

substantial injury to West Boca, and that “[b]y reason of their reliance on Defendants’

misrepresentations and omissions of material fact, Plaintiff, physicians, patients, and/or

others suffered actual pecuniary damage.” Doc. #: 385 at ¶903; ¶911.


        Finally, West Boca alleges “the Marketing Defendants have each engaged in unfair and

deceptive acts or practices in commerce in violation of the FDUTPA by actively promoting and

38 This conclusion is on all fours with the Court’s analysis of the FDUTPA safe harbor provision in Section VI.C.a
below.




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marketing the use of opioids for indications not federally approved, circulating false and

misleading information concerning opioids’ safety and efficacy, and downplaying or omitting the

risk of addiction arising from their use.” Doc. #: 385 at ¶901.

B. FDUTPA Legal Standards

       The FDUTPA is Florida’s consumer-protection law.            It is intended to “protect the

consuming public and legitimate business enterprises from those who engage in unfair methods

of competition, or unconscionable, deceptive, or unfair acts or practices in the conduct of any

trade or commerce.” Fla. Stat. §§ 501.202(2) and 501.204. A successful claim for damages under

FDUTPA contains three elements: (1) a deceptive act or unfair practice in the course of trade or

commerce; (2) causation; and (3) actual damages. See Carriuolo v. Gen. Motors Co., 823 F.3d

977, 983-84 (11th Cir. 2016). The Florida legislature specifically provided that the FDUTPA

“shall be construed liberally.” Fla. Stat. § 501.202(2); see also State Farm Mut. Auto. Ins. Co. v.

Performance Orthopaedics & Neurosurgery, LLC, 315 F.Supp.3d 1291, 1307 (S.D. Fla. 2018)

(“when considering whether a defendant’s actions support a finding of ‘unfair methods of

competition, unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or

commerce,’ courts have regarded the concept as ‘extremely broad’”).

C. FDUTPA Analysis

       1. Pleading Requirements

       Defendants assert West Boca’s FDUTPA claim should be dismissed because West Boca

has not pled sufficient factual allegations to support the claim. Distributors and Pharmacies assert

West Boca’s FDUTPA claim must meet the heightened pleading requirements under Rule 9(b)




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of the Federal Rules.39 See Doc. #: 684-1 at 23-25; Doc. #: 686-1 at 5. Courts in Florida are split

on whether Rule 9(b) applies to FDUTPA claims. See State Farm, 278 F.Supp.3d at 1327-28

(S.D. Fla. 2017) (comparing cases finding that Rule 9(b) does not apply to FDUTPA claims with

cases finding it does); see also Weiss v. General Motors LLC, 2019 WL 5394621 (S.D. Fla. Oct.

22, 2019) (following prior court decisions and holding that the requirements of Rule 9(b) do not

apply to a claim under FDUTPA “[b]ecause ‘FDUTPA claims seek a remedy for conduct distinct

from traditional common law torts such as fraud[,]’”) (citing Harris v. Nordyne, LLC, No. 14-cv-

21884, 2014 WL 12516067, at *4 (S.D. Fla. Nov. 13, 2014)).

        The Court need not analyze whether Rule 9(b) applies to West Boca’s FDUTPA claims,

however, because in any event the allegations within the Complaint are “sufficiently detailed to

meet the requirements of Rule 9(b).” Marty v. Anheuser-Busch Cos., LLC, 43 F.Supp.3d 1333,

1338 (S.D. Fla. 2014). The Court has addressed similar Rule 9 arguments in its prior opinions

and the same analysis applies to the allegations—and the sufficiency thereof—in West Boca’s

Complaint. See, e.g., Doc. #: 1680 at 2-4 (finding similarly detailed allegations sufficient to meet

the pleadings standard under Rule 9 because “the circumstances of the fraud [are] pled with

enough specificity to put defendants on notice as to the nature of the claim.”).

        2. Standing Under the FDUTPA

        West Boca alleges it is a “person” within the meaning of Section 501.203(6) of the

FDUTPA. Doc. #: 385 at ¶899. Manufacturer Defendants argue that West Boca “is not a

‘consumer’ of any medicine sold by Manufacturer Defendants” and “does not allege facts

showing that it was involved in a consumer transaction.” Doc. #: 691-1 at 9; Case No. 18-op-



39 Rule 9 requires that “[i]n alleging fraud or mistake, a party must state with particularity the circumstances
constituting fraud or mistake.” Fed. R. Civ. P. 9(b).




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45530, Doc. #: 55 at 12. Distributor Defendants argue West Boca doesn’t allege they were

involved in “trade or commerce,” Doc. #: 684-1 at 24, and Pharmacy Defendants argue West

Boca hasn’t identified whether it purchased an opioid from any Defendant. Doc. #: 686-1 at 8.

Having carefully considered each of Defendants’ arguments, the Court finds that West Boca has

sufficiently established it is a proper party to bring this FDUTPA action.

       Prior to 2001, the FDUTPA limited the class of plaintiffs who could file suit to

“consumers who have suffered a loss as a result of [the Act].” See Fla. Stat. § 501.211(2); Bailey

v. St Louis, 196 So. 3d 375, 382 (Fla. 2d DCA 2016). In 2001, the Florida legislature amended

the statute to replace the word “consumer” with the term “person,” thereby giving non-

consumers standing to sue. See id. A Florida appellate court has confirmed that “[t]his change

indicates that the legislature no longer intended the FDUTPA to apply to only consumers, but to

other entities able to prove the remaining elements of the claim as well.” Caribbean Cruise Line,

Inc. v. Better Bus. Bureau of Palm Beach Cty., Inc., 169 So.3d 164, 169 (Fla. 4th DCA 2015).

       This Court chooses to follow the majority of recent opinions from Florida’s District

Courts of Appeal concluding that, “in amending the Act, the legislature intended to give non-

consumers standing.” Collier HMA Physician Mgmt., LLC v. NCH Healthcare Sys., Inc., 2019

WL 277733, at *11 (M.D. Fla., Jan. 22, 2019) (citing Bailey, 196 So. 3d at 383); see also Off

Lease Only, Inc. v. LeJeune Auto Wholesale, Inc., 187 So. 3d 868, 869 n. 2 (Fla. 3d DCA 2016)

(same); Caribbean Cruise Line, 169 So. 3d at 169; Wallace v. Southern Cable Sys., LLC, 2016

WL 9308535, at *2 (N.D. Fla. Nov. 4, 2016) (collecting cases) (the FDUTPA “is not limited to

consumers, but, rather, it applies to all individuals and entities that are able to prove the three

elements on a FDUTPA claim”) (citations omitted); Stewart Agency Inc., v. Arrigo Enterprises,

Inc., 266 So.3d 207, 212 (Fla. 4th DCA 2019) (“an entity does not have to be a consumer to bring




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a FDUTPA claim, but it still must prove the elements on the claim, including an injury to a

consumer).

       Furthermore, West Boca itself need not be involved in a “consumer transaction,” because

the FDUTPA is not limited to purely consumer transactions. Instead, it applies to “any act or

practice occurring ‘in the conduct of any . . . commerce.’” Beacon v. Property Mgt., Inc. v. PNR,

Inc., 890 So.2d 274, 278 (Fla. Dist. Ct. App. 2004) (citation omitted). A plaintiff need not be

party to any consumer transaction to bring a FDUTPA claim. See, e.g., BPI Sports, LLC v.

Labdoor, Inc., 2016 WL 739652, at *5 (S.D. Fla. Feb. 25, 2016) (even though the plaintiff

admitted it was not a party to any consumer transaction, the case survived a motion to dismiss

and the court analyzed the remaining elements of the FDUTPA claim). Because the FDUTPA is

intended to be construed liberally, applies to non-consumers, and does not require a consumer

transaction between West Boca and the Defendants, the Court concludes West Boca has standing

to assert its FDUTPA claim.

       3. Allegations of Unfair and Deceptive Acts

       Federal Courts in the Southern District of Florida have held that a “deceptive act” is one

where a “representation, omission, or practice occurred that was likely to mislead the consumer

acting reasonably in the circumstances, to the consumer’s detriment;” and an “unfair practice” is

one that “offends established public policy and . . . is immoral, unethical, oppressive,

unscrupulous or substantially injurious to consumers.” Cox v. Porsche Fin. Serv., Inc., 342

F.Supp.3d 1271, 1286 (S.D. Fla. 2018) (internal citations omitted). Courts have defined “trade or

commerce” as “the advertising, soliciting, providing, offering, or distributing . . . any good or

service, or any property, whether tangible or intangible, or any other article, commodity, or thing

of value, wherever situated.” Nazario v. Prof’l Account Servs., Inc., No. 2:16-cv-772, 2017 WL

1179917, at *4 (M.D. Fla., Mar. 30, 2017).


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       West Boca alleges that “each of the Defendants have engaged in unfair and/or deceptive

trade practices” in commerce, in violation of the FDUTPA, by omitting the material fact of its

failure to design and operate a SOMS, as well as by failing to actually disclose suspicious orders.

Doc. #: 385 at ¶902. West Boca also alleges that “Defendants, individually and acting through

their employees and agents, and in concert with each other, knowingly made material

misrepresentations and omissions of facts to Plaintiff to induce it to purchase, administer, and

consume opioids,” and such false or misleading statements violate the FDUTPA. Doc. #: 385 at

¶¶905-06. Each Defendant argues that West Boca cannot meet the first element of proving an

FDUTPA claim because it failed to properly plead a “deceptive act.”

           A. Marketing Defendants

       West Boca alleges the Marketing Defendants have each engaged in unfair and deceptive

acts or practices in commerce by actively promoting and marketing the use of opioids for

indications not federally approved, circulating false and misleading information concerning

opioids’ safety and efficacy, and downplaying or omitting the risk of addiction arising from their

use. Doc. #: 385 at ¶901.

       Marketing Defendants argue that Florida law provides a “safe harbor” from FDUTPA

claims, which they fall within: FDUTPA does not apply to any “act or practice required or

specifically permitted by federal or state law.” Fla. Stat. § 501.212(1). Manufacturer Defendants

bear the burden of establishing the applicability of the safe-harbor provision in a FDUTPA

claim, and must show that a specific federal or state law affirmatively authorized it to engage in

the conduct alleged. Anheuser-Busch Cos., 43 F.Supp.3d at 1343 (citing Florida v. Tenet

Healthcare Corp., 420 F.Supp.2d 1288, 1310 (S.D. Fla. 2005)). Manufacturer Defendants argue

that, since “the FDA has approved most of the ER/LA [extended release / long-acting] opioid

medications at issue here for the treatment of chronic pain and Florida law authorizes such use of


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opioids,” the safe-harbor provisions of the FDUTPA apply and West Boca’s claim must fail.

Doc. #: 691-1 at 9.

        West Boca alleges Manufacturer Defendants’ misrepresentations and omissions regarding

the risk of opioid use fall into nine “categories of falsehoods,” which include misrepresentations

regarding: (i) addiction risk; (ii) ease of withdrawal; and (iii) improved patient functionality with

long-term use. See Doc. #: 385 at ¶¶146–317. West Boca argues these misrepresentations and

omissions are not based on any of the Manufacturer Defendants’ proffered “FDA determinations

about opioid safety and effectiveness,” and thus are not “specifically permitted by federal or state

law.” Doc. #: 806 at 65-66. West Boca concludes therefore, that the safe-harbor provision does

not apply.

        The Court finds that the Manufacturer Defendants’ have not met their burden. The

Manufacturers do not provide unambiguous evidence showing that their methods of promoting

and marketing opioids remained within the parameters specifically authorized by state or federal

law. See Case No. 18-op-45530, Doc. #: 55 at 17.40 The Manufacturer Defendants have not

established that the safe-harbor provision of the FDUTPA applies to their challenged conduct as

a matter of law, and the FDUTPA claim will not be dismissed on this ground. See Prohias v.

AstraZeneca Pharmaceuticals, L.P., 958 So.2d 1054, 1056 (Fla. Dist. Ct. App. 2007) (the

moving party in an FDUTPA case must “demonstrate that a specific federal or state law

affirmatively authorized it to engage in the conduct alleged in the Complaints”).




40 For instance, Manufacturer Defendants fail to address the myriad factual allegations set forth by Plaintiff
regarding false and misleading statements made in marketing the use of opioids for indications not approved. See
Doc. #: 806 at 77-78.




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           B. Supply Chain Defendants

       West Boca alleges that Distributor and Pharmacy Defendants “knowingly made material

misrepresentations and omissions of facts to Plaintiff to induce it to purchase, administer, and

consume opioids,” and “engaged in unfair and/or deceptive trade practices by omitting the

material fact of its failure to design and operate a SOMS, and by failing to actually disclose such

suspicious orders,” as required under the CSA. Doc. #: 385 at ¶¶902; 905; 906.

               i. Deceiving Customers

       Distributor Defendants argue the Complaint is “entirely devoid” of any allegation that

West Boca, “let alone any consumer – was likely to be deceived by Distributors’ alleged

omission and reporting failures.” Doc. #: 684-1 at 25. West Boca’s Complaint, however,

specifically contains allegations that “Defendants recklessly disregarded the falsity of their

representations and omissions,” intending that West Boca and others would rely upon them, and

“[b]y reason of their reliance on Defendants’ misrepresentations and omissions of material fact,

Plaintiff, physicians, patients, and/or others suffered actual pecuniary damage.” Doc. #: 385 at

¶¶908-911. More specifically, West Boca alleges “Distributor Defendants have repeatedly

misrepresented their compliance with their legal duties under federal law [to report and halt

suspicious orders of opioids] and have wrongfully and repeatedly disavowed those duties in an

effort to mislead regulators and the public regarding the Distributor Defendants’ compliance with

their legal duties.” Doc. #: 385 at ¶649. At this stage, it is sufficient that West Boca plausibly

alleges the public was misled; whether West Boca, regulators, or the public was actually

deceived by the alleged false statements is a factual question not properly resolved in a motion to

dismiss. See Schojan v. Papa John’s Int’l., Inc., 2014 WL 6886041, at *6 (M.D. Fla., Dec. 8,

2014) (denying defendant’s motion to dismiss because “[w]hether particular conduct constitutes

an unfair or deceptive trade practice is a question of fact”). Therefore, West Boca has properly


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pled that the Distributors’ failure to report suspicious orders could plausibly have deceived it

and/or the public.41

                 ii. CSA Violations: Actionable under the FDUTPA

        Distributor Defendants assert that violations of the CSA cannot serve as a predicate for an

FDUTPA claim because the CSA does not proscribe “unfair methods of competition, or unfair,

deceptive, or unconscionable acts or practices,” and any CSA violation did not occur in the

conduct of “trade or commerce.” Doc. #: 684-1 at 24-25.42 Distributor and Pharmacy Defendants

argue for dismissal, claiming “the only deceptive or unfair act or practice asserted against

[Pharmacy Defendants] is a supposed failure to disclose alleged noncompliance with [CSA]

regulatory reporting requirements.” See e.g. Doc. #: 825 at 13.

        West Boca incorporates by reference arguments made by Broward County in its

opposition to Defendants’ motions to dismiss its FDUTPA Claim – that is, the CSA is considered

a consumer protection law. In its opposition, Broward County asserts that “[t]he FDCA, which

incorporates the CSA, proscribes deceptive and unfair practices, as its purpose is ‘to protect the

public health, safety, and welfare’ [of consumers].”43 Doc. #: 730 at 47. Broward County further

asserts that the Defendants’ failure to operate a system to disclose suspicious orders of controlled

substances “offends established public policy,” and is therefore actionable under the FDUTPA.

Doc. #: 730 at 47-48.



41 As it relates to reporting requirements, Pharmacy Defendants argue that Plaintiff is asking the Court to “read
FDUTPA to impose a duty on every business in Florida to inform all government entities of noncompliance with
any regulation … even when the regulation creates no duty to that government entity and no consumer has been
misled.” (Emphasis added.) Of course, that is not what Plaintiff actually argues.
42 Distributor Defendants also argue these CSA allegations do not meet the Rule 9(b) heightened pleading
requirement, see Doc. #: 684 at 24, but for the reasons discussed above, the Court finds Plaintiff’s allegations are
sufficient under Rule 9(b).
43 “FDCA” is the Florida Drug and Cosmetic Act, Florida Statutes, Title XXXIII, Chapter 499, et seq.




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        Whether violations of the CSA serve as an appropriate predicate is not dispositive of

West Boca’s FDUTPA claim.44 The Court finds that West Boca has plausibly alleged

“unconscionable, deceptive, or unfair acts or practices” by Distributor Defendants other than

those acts that allegedly violate the CSA. Fla. Stat. §§ 501.202(2) and 501.204. One such

allegation reads: “members of the supply chain joined and conspired in the false and deceptive

marketing of prescription opioids, which was designed dramatically to increase the demand for

and sale of opioids and opioid prescriptions.” Doc. #: 385 at ¶14; see also Doc. #: 385 at Section

XV (alleging facts pertaining to substantive RICO violations, including mail and wire fraud).

West Boca also alleges that, while conducting these activities, “[a]ll Defendants engaged in

‘[t]rade or commerce’ within the meaning of Fla. Stat. § 501.203(8).” Doc. #: 385 at ¶900. The

Court finds that West Boca has sufficiently alleged unfair or deceptive acts against each of the

Defendants.

             C. Causation

        Section 501.211(2) of the FDUTPA provides that a “person who has suffered a loss as a

result of a violation [of the statute] may recover actual damages.” To prove the causation element

of a consumer claim under the FDUTPA, West Boca must show that “the practice was likely to



44 Although the Court declines to decide whether violations of the CSA constitute predicate acts under the
FDUTPA, the Court makes the following observations. When the CSA was amended in 2008 to prohibit the
distribution of controlled substances over the internet, the amendment was titled the “Ryan Haight Online Pharmacy
Consumer Protection Act of 2008,” presumably indicating its consumer protection goals. See 21 U.S.C.A. §§
829(e)(1), 841(h). Furthermore, this Court has previously ruled on the significance of Defendants’ duties under the
CSA. In Track One, this Court articulated that Section 1301.74 of the CSA is a regulation promulgated pursuant to
Congressional authority and has the full force and effect of law. See Doc. #: 2483 at 15. The Court also observed
that one goal of the CSA is to protect the “public interest” by regulating the “manufacture, distribution, and
dispensing of controlled substances.” 21 U.S.C. §§ 821 and 823. Still further, Section 1301.74 imposes a legal duty
on registrants to design and operate a SOMS, and to inform the DEA of suspicious orders when discovered by the
registrants. Doc. #: 2483 at 15. Finally, the Court ruled that, as part of their duty to maintain effective controls
against diversion, registrants under the CSA have a duty not to ship suspicious orders. Doc. #: 2483 at 18. That is,
the CSA creates a duty not to put a suspicious order into the stream of commerce where the opioids will be used by
consumers, absent due diligence.




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deceive a consumer acting reasonably in the same circumstances.” Office of Attorney Gen. v.

Bilotti, 267 So.3d 1, 3 (Fla. 4th DCA 2019) (citation omitted). West Boca “need not prove

reliance on the allegedly false statement . . . but rather a plaintiff must simply prove that an

objectively reasonable person would have been deceived.” Cold Stone Creamery, Inc. v. Lenora

Foods I, LLC, 3691 F.App’x 565, 567 (11th Cir. 2009); see Lombardo v. Johnson & Johnson

Consumer Cos. Inc., 124 F.Supp.3d 1283, 1290 (citation omitted). Nonetheless, “causation must

be direct, rather than remote or speculative.” Lombardo, 124 F.Supp.3d at 1290 (citation

omitted).

       Defendants each argue that West Boca has not sufficiently pled the existence of an

actionable misrepresentation or omission which would establish causation. (See Doc. #: 691-1 at

16; Doc. #: 684-1 at 12-13; Doc. #: 686-1 at 8 (incorporating Doc. #: 582-1 at 3-5). In response,

West Boca asserts that Defendants deceived not only regulators, but also the general public.

West Boca alleges that “[p]ublic statements by the [Manufacturer and Distributor] Defendants

and their associates created the false and misleading impression to regulators, prescribers, and

the public that the Defendants rigorously carried out their legal duties . . . and further created the

false impression that these Defendants also worked voluntarily to prevent diversion as a matter

of corporate responsibility to the communities their business practices would necessarily

impact.” Doc. #: 385 at ¶616 (emphasis added). Furthermore, West Boca alleges that, “[i]n

addition to taking actions to limit regulatory prosecutions and suspensions, the Distributor

Defendants undertook to fraudulently convince the public that they were complying with their

legal obligations, including those imposed by licensing regulations. Through such statements, the

Distributor Defendants attempted to assure the public they were working to curb the opioid

epidemic.” Doc. #: 385 at ¶655 (emphasis added). Lastly, West Boca alleges that Supply Chain




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Defendants, which include the Pharmacies, had unlawful “policies and practices [which]

remained in place even as the [opioid] epidemic raged,” Doc. #: 385 at ¶676, and that “members

of the supply chain joined and conspired in the false and deceptive marketing of prescription

opioids, which was designed dramatically to increase the demand for and sale of opioids and

opioid prescriptions” to the medical community and the public. Doc. #: 385 at ¶14.

         The Court concludes West Boca has plausibly alleged that deceptive practices undertaken

by all Defendants worked to deceive both regulators and the public, including West Boca, in a

manner specifically designed to increase the Defendants’ ability to manufacture, distribute, and

sell more prescription opioids. The resultant increase in Defendants’ commercial transactions

were allegedly legitimized by Defendants’ deceptive practices, and created the opioid epidemic

which injured West Boca. This causal chain is consistent with that described elsewhere in this

opinion and the Court’s prior opinions. See Sec. IV.A., infra; Doc. ##: 1203; 3177. Therefore,

West Boca has plausibly alleged that actions taken by each Defendant were objectively likely to

deceive a reasonable person and caused West Boca’s asserted injuries. Defendants’ Motions to

Dismiss on this ground are denied.45

         4. Actual Damages

         The FDUTPA provides that, “[i]n any action brought by a person who has suffered a loss

as a result of a violation of [the Act], such person may recover actual damages, plus attorney’s

fees and court costs.” § 501.211(2). Actual damages are limited to compensatory damages;

consequential damages are not available under the Act. Dorestin v. Hollywood Imports, Inc., 45

So.3d 819 (Fla. 4th DCA 2010). In addition, the FDUTPA affords civil private causes of action


45 Of course, the Court’s determination does not mean Plaintiff will ultimately prevail or that the Court agrees with
any or all of the theories advanced by Plaintiff. Rather, the court finds only that Plaintiff has alleged facts necessary
to withstand a motion to dismiss and will now have the opportunity to pursue, and the burden to prove, its claims.




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for equitable relief in the form of a declaratory judgment or an injunction. See Nazario, 2017 WL

1179917, at *4.

       First, Defendants insists West Boca hasn’t alleged “actual damages” cognizable under

Section 501.207(1) of the FDUTPA, arguing damages are defined as “the difference in the

market value of the product or service in the condition in which it was delivered and its market

value in the condition in which it should have been delivered.” See, e.g., Doc. #: 582-1 at 14

(incorporated by reference). While this is true, “the inclusion of diminished value as an actual

damage under the FDUTPA is an addition to those damages that are already easily recognized as

actual damages,” that is, the “amounts necessary to compensate adequately an injured party for

losses sustained as the result of a defendant’s wrongful or negligent actions.” See Diamond v.

Porsche Cars N. Am., Inc., 2012 WL 6837916, at *4-5 (Cir. Ct. Fla. Sept. 28, 2012) (citation

omitted). West Boca has alleged adequately these other types of compensatory damages.

       Defendants also argue West Boca has not alleged a cognizable damages claim because

“its purported damages arise from personal injuries.” See, e.g. Doc. #: 684-1 at 26. The Court

concluded above, in Section IV.B., that West Boca’s being in the business of providing

healthcare services, does not make its injuries “derivative” of personal injuries.

       Defendants make additional arguments, but the Court need not undertake an itemized

evaluation of the validity of each type of claimed damages on a motion to dismiss, so long as

some alleged damages are sufficient to support West Boca’s claim. It remains West Boca’s

burden to prove at trial that the damages presented are actual, quantifiable damages. See State

Farm, 315 F.Supp.3d at 1311 (“[a]ll questions regarding the reasonableness and quantification of

damages are generally issues of fact…[and] should be left to the jury”) (citation omitted). But




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West Boca’s pleading of alleged damages is sufficient. Defendants’ Motions to Dismiss are

denied on these grounds.

         5. Equitable Relief

         Regardless of whether a plaintiff can recover “actual damages” under Section 501.211(2),

it may obtain injunctive relief under Section 501.211(1). See Ahearn v. Mayo Clinic, 180 So.3d

165, 172 (1st DCA Fla. 2015) (citation omitted). To state a claim for equitable relief, West Boca

“must show (1) that it is aggrieved, in that its rights have been, are being, or will be adversely

affected, by (2) a violation of FDUTPA, meaning an unfair or deceptive practice which is

injurious to consumers.” Fla. Stat. § 501.211(1); Stewart Agency, Inc, 266 So.3d at 214. The

equitable relief available under FDUTPA is limited to a declaratory judgment or an injunction.

Fla. Stat. § 501.211.

         West Boca has asked the Court for “equitable relief, including injunctive relief,” alleging

specific examples of how West Boca “continues to suffer from the unlawful actions by the

Defendants.” See Doc. #: 385 at ¶¶10; 748; 769. Defendants do not specifically address West

Boca’s requests for equitable relief. Absent briefing to the contrary, the Court concludes West

Boca has shown “a sufficient likelihood that [it] will be affected by the allegedly unlawful

conduct in the future.” Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1328-29 (11th Cir.

2013). West Boca may seek equitable relief under the FDUTPA.

                               VII. Misleading Advertising

         In its Fourth Claim for Relief, West Boca alleges the Marketing Defendants “engaged in

misleading advertising in the conduct of a business, trade or commerce” in Florida, “deceiving

the public about the efficacy and safety of opioid pharmaceuticals” in violation of Fla. Stat. §

817.41. Doc. #: 385 at ¶¶915, 917-18. “Misleading advertising” is defined by Section 817.40(5)

as:


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        any statements made, or in oral, written, or printed form or otherwise, to or before
        the public, or any portion thereof, which are known, or thorough the exercise of
        reasonable care or investigation could or might have been ascertained, to be
        untrue or misleading, and which are or were so made or disseminated with the
        intent or purpose, either directly or indirectly, or selling or disposing of real or
        personal property, services of any nature whatever, professional or otherwise, or
        to induce the public to enter into any obligation relating to such property or
        services.

Fla. Stat. § 817.40(5).

        To prove misleading advertising under Florida law, a plaintiff must “prove reliance on

the alleged misleading advertising, as well as each of the other elements of the common law tort

of fraud in the inducement.” Koens v. Royal Caribbean Cruises, Ltd., 774 F.Supp.2d 1215, 1220

(S.D. Fla. 2011) (citation omitted).

        West Boca alleges Marketing Defendants’ advertising was misleading in the following

ways:

        a. Misrepresenting the truth about how opioids lead to addiction;
        b. Misrepresenting that opioids improve function;
        c. Misrepresenting that addiction risk can be managed;
        d. Misleading doctors, patients, and payors through the use of misleading terms like
           “pseudoaddiction;”
        e. Falsely claiming that withdrawal is simply managed;
        f. Misrepresenting that increased doses pose no significant additional risks;
        g. Falsely omitting or minimizing the adverse effects of opioids and overstating the risks
           of alternative forms of pain treatment.
Doc. #: 385 at ¶919.

        Marketing Defendants argue West Boca has failed to allege any false or misleading

statement and failed to allege it was exposed to, and relied upon, any alleged misrepresentation




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by Marketing Defendants.46 Doc. #: 691-1 at 11. But this is plainly incorrect.                         West Boca

identifies specific examples of allegedly-misleading statements made by Marketing Defendants,

setting forth nine “falsehoods” Marketing Defendants promoted to increase the market for

opioids. See Doc. #: 385 at ¶¶155-327. West Boca also identifies the “multiple channels”

Marketing Defendants used to disseminate these allegedly misleading statements. See

Doc. #: 385 at ¶¶328-480. In fact, West Boca dedicates over 300 paragraphs of its Complaint to

specifically identifying documents or statements it believes were misleading, the source of the

statements, the various methods used to disseminate the statements, and when and to whom the

statements were made. See Doc. #: 385 at ¶¶155-480.47 See also Doria v. Royal Caribbean

Cruises, Ltd., 393 F.Supp.3d 1141, 1145 (S.D. Fla. 2019) (finding plaintiff’s allegations met the

heightened pleading standard of Rule 9(b), as it provided the statements alleged to be misleading

or false, the sources of the misleading materials, and identified when the misleading statements

were made.) The Court has previously concluded that, “where multiple defendants are alleged to

have engaged in the same pattern of conduct,” a plaintiff need not “reiterate its allegations

against each defendant individually.” Doc. #: 1499 at 25-26 (adopted by Doc. #: 1680 at 5).

“Such a finding would exponentially increase the length of pleadings while adding no

substantive value.” Doc. #: 1499 at 26. West Boca’s allegations are sufficient, even under the

heightened pleading standard of Rule 9.




46 Marketing Defendants also argue Plaintiff’s allegations do not meet the heightened pleading requirement of Rule
9(b). Doc. #: 691-1 at 11.
47 For example, in paragraph 192, Plaintiff identifies a 2009 patient education publication entitled “Pain: Opioid
Therapy,” funded by Endo and posted online, that omitted the term “addiction” from the list of “common risks” of
opioid use. This allegation identifies the document, the source of the statement, the methods used to disseminate the
statement, and the date and intended audience of the statement.




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        West Boca has also sufficiently alleged throughout its Complaint that it relied upon

Marketing Defendants’ allegedly misleading advertisements. Accordingly, this Court finds that

West Boca has stated a claim for Misleading Advertising, and Marketing Defendants’ Motion to

Dismiss is denied on this ground.

       VIII. Breach of Implied Warranty of Fitness For a Particular Purpose

        West Boca alleges each Defendant breached implied warranties of fitness for a particular

purpose, in violation of Fla. Stat. Ann. §§ 672.315 (the “Florida UCC”).48 Doc. #: 385 at ¶¶922-

928. West Boca alleges Defendants knew or had reason to know that: (i) West Boca was

purchasing opioids “for a particular purpose, namely to provide pain relief in an appropriate way

that did not unnecessarily endanger its patients if the opioids were used as sold and marketed by

Defendants,;” and (ii) “[t]he opioids that Plaintiff purchased were not suitable for the particular

purpose for which Plaintiff purchased them.” West Boca claims it suffered damages as a result

of justifiably relying upon Defendants’ “skill, judgment and narrative to provide opioids that

were suitable.” Doc. #: 385 at ¶¶924-28.

        However, West Boca’s opposition brief is entirely devoid of any factual statements or

legal arguments regarding a breach of warranty. Doc. #: 806. As Defendants correctly argue, a

plaintiff abandons its claims by failing to raise them in its brief opposing a defendant’s motion to

dismiss. See, e.g. Doc. #: 55 at 14 (citing Doe v. Bredesen, 507 F.3d 998, 1007 (6th Cir. 2007)).

Therefore, the Court finds that West Boca has abandoned its breach of implied warranty claim.

Defendants’ Motions to Dismiss Count V are granted.49


48 Plaintiff purportedly also brought this claim under “Section 672.11,” but there is no such section within the
Florida UCC.
49 Confusingly, in Plaintiff’s Reply in Support of its Second Notice, Doc. #: 2705, West Boca states it “had also
asserted a claim for breach of implied warranty of merchantability, but that claim was withdrawn.” Case No. 1:18-
op-45530, Doc. #: 62 at n.3 (emphasis added). Although Florida law does recognize a separate claim for breach of



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                                            IX. Negligence

         West Boca asserts five variations of negligence claims: Negligence (Count VI); Wanton

Negligence (Count VII); Negligence Per Se (Count VIII); Negligent Marketing (Count IX); and,

Negligent Distribution (Count X). The Court examines each claim separately.

A. Common-Law Negligence

         There are four elements to a common-law negligence claim under Florida law: (1) a duty,

or obligation, recognized by the law, requiring the defendant to conform to a certain standard of

conduct, for the protection of others against unreasonable risk; (2) breach of that duty; (3) a

reasonably close causal connection between the conduct and the resulting injury, or “proximate

cause;” and (4) damages. See Clay Elec. Co-op., Inc. v. Johnson, 873 So. 2d 1182, 1185 (Fla.

2003). In its Sixth Claim for Relief, West Boca alleges each Defendant breached “its duty to

exercise reasonable care in the manufacturing, marketing, selling, and distributing of highly

dangerous opioid drugs.” Doc. #: 385 at ¶¶930-931. West Boca further alleges that, “[a]s a

proximate result, Defendants have caused Plaintiff’s injury related to the treatment of opioid-

related conditions.” Doc. #: 385 at ¶¶933. Defendants only challenge the sufficiency of the

allegations with respect to the duty of care.50 See Doc. #: 691-1 at 14-15; Doc. #: 684-151 at 19-

20; Doc. #: 686-1 at 4.




implied warranty of merchantability, Fla. Stat. § 672.314, the Court is not aware that Plaintiff ever alleged that cause
of action. Further, West Boca does not cite to any document purporting to withdraw this (or any) claim. Thus, for
clarification, the Court hereby dismisses West Boca’s claim for Breach of Implied Warranty of Fitness For a
Particular Purpose and, to the extent it was ever alleged and not properly withdrawn, dismisses West Boca’s Breach
of Implied Warranty of Merchantability as well.
50 Defendants also challenge proximate causation generally, and those challenges are addressed elsewhere in this
opinion.
51 Distributor Defendants assert they did not breach any duty of care. Breach is addressed in the Negligent
Distribution section (IX.E.) below.




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       In Florida, “[t]he touchstone for determining whether a duty exists is ‘foreseeability.’

‘[W]here a person’s conduct is such that it creates a “foreseeable zone of risk” posing a general

threat of harm to others, a legal duty will ordinarily be recognized to ensure that the underlying

threatening conduct is carried out reasonably.’” Sewell v. Racetrac Petroleum, Inc., 245 So. 3d

822, 825 (Fla. Dist. Ct. App. 2017) (citing McCain v. Florida Power Corp., 593 So.2d 500, 503

(Fla. 1992); Williams v. Davis, 974 So.2d 1052, 1056 (Fla. 2007)); see also U.S. v. Stevens, 994

So.2d 1062, 1066-67 (Fla. 2008). In order to determine whether a duty arises, the Florida

Supreme Court has identified four sources that provide such a duty: “(1) legislative enactments

or administration regulations; (2) judicial interpretations of such enactments or regulations; (3)

other judicial precedent; and (4) a duty arising from the general facts of the case.” Clay Elec.,

873 So. 2d at 1185 (quoting McCain, 593 So.2d at 503 n.2).

       West Boca relies upon the general facts of this case as the source of Defendants’

common-law duty. See Doc. #: 806 at 41-42. West Boca asserts its injuries were within the

“foreseeable zone of risk” created by Defendants’ manufacturing, distributing, and dispensing

activities, because: (a) if not conducted with a requisite level of care, these activities could (and,

in fact, did) foreseeably allow opioids to be diverted in large quantities into West Boca’s service

area; (b) this diversion could (and, in fact, did) foreseeably lead to widespread injury to people’s

health, creating a public health crisis; and (c) hospitals are necessarily and foreseeably on the

“front lines” of any and all health crises. See Doc. #: 806 at 41 (citing Doc. #: 385 at ¶¶16-17;

47; 58; 60). West Boca alleges that, not only could the Defendants have reasonably foreseen that

hospitals would bear the responsibility for treating individuals with opioid addiction, but the

Defendants may have even counted on it -- West Boca alleges “defendants knew that but for

West Boca’s providing at least some aspect of a safety net, the number of overdose deaths and




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other related health consequences arising from opioid addictions would have even been far

greater than actually occurred.” Doc. #: 385 at ¶19. Although this allegation will need to be

proved, it is taken as true at the motion to dismiss stage.

       The Court concludes West Boca’s asserted injuries plausibly fall within the foreseeable

zone of risk created by Defendants’ manufacturing, distributing, and dispensing activities related

to opioid drugs. In other words, Defendants’ activities regarding these potentially dangerous and

highly addictive opioid drugs create a “general threat of harm to others,” and it is therefore

appropriate, under Florida law, to recognize a legal duty “to ensure that the underlying

threatening conduct is carried out reasonably.” Sewell, 245 So. 3d at 825. At this stage in the

case, a complaint need only set forth a plausible claim for relief and should not be dismissed

unless it is clear that no relief could be granted under any set of facts that could be proved

consistent with the allegations. Trollinger., 370 F.3d at 615; Krehling v. Baron, 900 F.Supp.

1574, 1577 (M.D. Fla. 1995). Thus, the Court finds West Boca has sufficiently pled that

Defendants owe it a duty of care. Defendants Motion to Dismiss Count VI is denied.

B. Wanton Negligence Allegations Against All Defendants

       In the Seventh Claim for Relief, West Boca alleges Wanton Negligence. West Boca

alleges:

       Defendants conducted themselves with reckless indifference to the consequences
       of their acts and omissions, in that they were conscious of their conduct and were
       aware, from their knowledge of existing circumstances and conditions, that their
       conduct would inevitably result in injury to others, specifically hospitals such as
       Plaintiff, which would be subject to providing unreimbursed healthcare treatment
       to patients with opioid conditions.

Doc. #: 385 at ¶938.

       Distributor Defendants argue that willful and wanton negligence is considered a “more

culpable” form of misconduct than ordinary negligence, as it relates to “conduct which is more in



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the nature of an intentional wrong.” Distributor Defendants assert West Boca’s allegations do not

even support a simple negligence claim, and therefore cannot support a claim for wanton

negligence. Doc. #: 684-1 at 30. Manufacturer Defendants argue that West Boca did not properly

plead its negligence claim to allege Manufacturer Defendants owed it a duty of care.

Doc. #: 691-1 at 14.52

         Under Florida law, conduct rises to the level of willful and wanton misconduct when the

actor has “knowledge, actual or constructive, of the likelihood that his conduct will cause injury

to other persons” and this conduct “indicate[s] a reckless indifference to the rights of others.”

Bell v. Circle K Stores Inc., No. 8:18-cv-1296, 2019 WL 5190907, at *4 (M.D. Fla. Oct. 15,

2019) (citing Boyce v. Pi Kappa Alpha Holding Corp., 476 F.2d 447, 452 (5th Cir. 1973).

Reckless misconduct differs from negligence in that “reckless misconduct requires a conscious

choice of a course of action . . . with knowledge of the serious dangers to others involved in it or

with knowledge of facts which would disclose the danger to any reasonable man.” Id. (citing

Restatement (Second) of Torts § 500).

         As outlined in the RICO section of this Order, the Complaint details the alleged manner

in which Defendants knowingly promoted and distributed misleading and false information in

order to increase the market for prescription opioids, and willfully failed to monitor, report, or

halt shipments of suspicious orders of opioids. West Boca’s Complaint sets forth alarming

statistics related to the opioid epidemic, further alleging each Defendant was aware of, yet


52 Manufacturer Defendants also argue Plaintiff’s request for punitive damages based on false advertising and
wanton negligence should be stricken because “the Complaint contains only conclusory allegations plainly
insufficient to justify such extraordinary relief.” Doc. #: 691-1 at 20. This Court will not Strike Plaintiff’s request for
punitive damages, as motions to strike are disfavored and rarely granted, and the argument raised by Manufacturer
Defendants is more appropriately raised at a later phase of this litigation. See, e.g., Berene v. Nationstar Mortg. LLC,
2016 WL 3944742, at *5 (S.D. Fla. Feb. 5, 2016), rev’d and remanded on other grounds, 686 F.App’x 714 (11th
Cir. 2017).




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ignored, these statistics. See Doc. #: 385 at ¶¶1-50. West Boca also alleges the Defendants’

conduct “continued in the face of numerous enforcement actions, fines, and other warnings from

state and local governments and regulatory agencies,” and that “Defendants paid their fines,

made promises to do better, and continued on with their marketing and supply schemes.”

Doc. #: 385 at ¶783.

          The Court concludes these factual allegations, taken as true, rise to the level of reckless

indifference. West Boca has adequately pled allegations against Defendants which reflect

intentional misconduct and could ultimately, if proved, support a finding of wanton negligence

against Defendants. Therefore, Defendants’ Motion to Dismiss the wanton negligence claim is

denied.

C. Negligence Per Se Allegations Against All Defendants

          In the Eighth Claim for Relief, West Boca alleges negligence per se, claiming Defendants

violated their duties under the CSA by “knowingly or intentionally furnishing false or fraudulent

information in, and/or omitting material information from, documents filed with the DEA.”

Doc. #: 385 at ¶942. West Boca also alleges “Defendants failed to comply with the FDCA” in

failing “to provide effective controls and procedures to guard against diversion of controlled

substances in contravention of Florida and federal law.” Doc. #: 385 at ¶¶944; 948.

          The Defendants argue that neither the CSA nor the FDCA establish a private right of

action, so West Boca cannot pursue a negligence per se claim premised on these statutes. See

Doc. #: 684-1 at 27-28; Doc. #: 691-1 at 14-15. The Court agrees with Defendants.

          As this Court has ruled previously, “[t]he CSA was intended to protect individual

members of the public from falling victim to drug misuse and abuse.” See Doc. #: 1680 at 24;

Doc. #: 3177 at 53. West Boca, a hospital system, is not an “individual member of the public”

that could fall victim to drug misuse and abuse. West Boca is not an intended beneficiary of the


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CSA. See Doc. #: 3177 at 53. Nor is West Boca the intended beneficiary of the FDCA, which

was enacted to “[s]afeguard the public health and promote the public welfare by protecting the

public from injury” caused by using products relating to drugs, devices and cosmetics. See §

499.002(1), Fla. Stat. (1993); Fields v. Mylan Pharm’s Inc., 751, F.Supp.2d 1257, 1259 (N.D.

Fla. 2009). Furthermore, under Florida law, negligence per se cannot be premised upon a

violation of the CSA or the FDCA, as there is no “evidence of a legislative intent to create a

private cause of action.” Rowe v. Mentor Worldwide, LLC, 297 F.Supp.3d 1288 (M.D. Fla.

2018).

         For these reasons, West Boca has failed to state a claim for negligence per se.

Defendants’ Motion to Dismiss is granted, and Count VIII is dismissed.

D. Negligent Marketing Allegations Against Marketing Defendants

         In the Ninth Claim for Relief, West Boca alleges “negligent marketing” against

Marketing Defendants, claiming they “marketed opioids in an improper manner” by overstating

the benefits of chronic opioid therapy and opioids’ superiority compared with other treatments.

Doc. #: 385 at ¶973(a) and (c). West Boca alleges Marketing Defendants also mischaracterized

the serious risks and adverse outcomes of opioid use, including the “serious risk of addiction,

overdose and death,” the difficulty of withdrawal from opioids, and West Boca contends that

opioids were marketed for indications and benefits that were outside of the opioids’ labels and

not supported by substantial evidence. Doc. #: 385 at ¶973(b), (d)-(e). West Boca also alleges the

Marketing Defendants “knew or should have known that opioids were unreasonably dangerous

and cause addiction” when used to treat chronic pain. Doc. #: 385 at ¶977.

         Manufacturing Defendants argue that a claim for “negligent marketing” does not exist

under Florida law and cannot serve as an independent cause of action. Doc. #: 691-1 at 14. West

Boca responds that several courts in Florida have recognized negligent marketing claims.


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However, the case law cited by West Boca does not support this argument. See Doc. #: 806 at

45.53 While there is Florida case law to support “fraudulent marketing” or “negligent

misrepresentation” claims against drug manufacturers, see, e.g., Hamblen v. Davol, Inc., 2017

WL 6406888, at *3 (M.D. Fla. Dec. 15, 2017) (denying motion to dismiss plaintiff’s negligent

misrepresentation claim alleging manufacturer of hernia patch omitted information about the

risks of its product), Florida courts have not yet deemed “negligent marketing” a separate cause

of action.54

        For these reasons, West Boca has failed to state a viable claim for negligent marketing.

Marketing Defendants’ Motion to Dismiss is granted with respect to Count IX.

E. Negligent Distribution Allegations Against All Defendants

        In the Tenth Claim for Relief, West Boca alleges “Negligent Distribution” against all

Defendants, alleging they “distributed opioids in an improper manner” when they failed to

maintain effective controls against diversion of opioids, (i.e. failed to monitor, report, or stop or

suspend shipments of suspicious orders). West Boca alleges Defendants distributed and sold

“opioids in a way that facilitated and encouraged their flow into the illegal, secondary market”

(i.e. “knew or should have known they were distributing and selling opioids prescribed by ‘pill

mills.’”). Doc. #: 385 at ¶986.




53 For instance, West Boca’s reliance on Godelia v. Doe I, 881 F.3d 1309 (11th Cir. 2018) is misplaced, as that
Court upheld plaintiff’s claim for negligent misrepresentation, and did not address whether “negligent marketing”
claims exist under Florida law.
54 Further, Plaintiff indicated that it pled negligent marketing out of “an abundance of caution” and “[w]hether
considered (in aggregate) as components of a single negligence count or as separate claims, there is ample authority
confirming that allegations of negligence in marketing and distribution are actionable.” See Doc. #: 806 at 44. Thus,
the Court considers Count IX as essentially pleading in the alternative. Given that Plaintiffs’ other negligence
claims (Counts VI and VII) survive the motions to dismiss, Count IX is unnecessary and redundant. As noted
below, the same is true for Count X.




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       Similar to Count IX, Manufacturing and Pharmacy Defendants argue that “negligent

distribution” claims do not exist in Florida law, Doc. #: 691-1 at 14; Doc. #: 686-1 at 4.

Distributor Defendants argue West Boca’s negligent distribution claim “is entirely duplicative of

its negligence claim,” and therefore, fails. Doc. #: 684-1 at 21-22.

       As with West Boca’s negligent marketing claim, there is no specific case law holding that

a negligent distribution claim against a pharmaceutical distributor exists under Florida law. Thus,

for the same reasons as with Count IX, West Boca has failed to state a viable claim for negligent

distribution. Defendants’ Motion to Dismiss is granted with respect to Count X.

                                 X. Unjust Enrichment

       In the Twelfth Claim for Relief, West Boca alleges unjust enrichment against all

Defendants, claiming “Plaintiff provided unreimbursed healthcare treatment to patients with

opioid conditions that Defendants are responsible for creating,” and West Boca thereby

conferred a benefit on Defendants. Doc. #: 385 at ¶1006. West Boca also argues it was a

“purchaser and dispenser of opioids which conferred pecuniary benefits upon the Defendants.”

Doc. #: 806 at 51-52; 58. West Boca alleges it would be “inequitable for Defendants to retain the

benefit without payment of its value” and Defendants must disgorge their unjustly acquired

profits by providing restitution to West Boca. Doc. #: 385 at ¶¶1008-11.

       In Florida, the elements of unjust enrichment are: (1) plaintiff has conferred a benefit on

the defendant, who has knowledge thereof; (2) defendant voluntarily accepts and retains the

benefit conferred; and (3) the circumstances are such that it would be inequitable for the

defendant to retain the benefit without first paying the value thereof to the plaintiff. See Duty

Free World, Inc. v. Miami Perfume Junction, Inc., 253 So.3d 689, 693 (Fla. 3d DCA 2018). The

basis of the remedy for unjust enrichment is to provide restitution where one person has been

unjustly enriched at the expense of another. See id. Disgorgement is an equitable remedy in


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unjust enrichment actions, and is measured by the defendant’s ill-gotten gains rather than the

plaintiff’s losses. See, e.g., S.E.C. v. Levin, 849 F.3d 995, 1006 (11th Cir. 2017).

        Defendants argue that West Boca does not plausibly allege any benefit it conferred upon

the Defendants, arguing West Boca only conferred benefits upon its patients. See Doc. #: 691-1

at 17; Doc. #: 684-1 at 22-23. Distributors further argue that: (1) West Boca fails to allege the

Distributors were aware of the benefit conferred upon them; (2) the unjust enrichment claim fails

because it is duplicative, as it is based on the same alleged conduct underlying its other claims;

and (3) because West Boca is obligated under both state and federal law to provide emergency

medical care to indigent patients, West Boca’s garnering of unreimbursed medical expenses is

not unjust. See Doc. #: 684-1 at 22-23.

        For the reasons stated in Summit County, see Doc. ##: 1025 at 91-95; 1203 at 36-38, and

repeated by this Court in Cleveland Bakers, see Doc. #: 3177 at 61-63, these arguments do not

persuade the Court to dismiss West Boca’s unjust enrichment claim. The Ohio law of unjust

enrichment parallels Florida law; accordingly, the Court’s prior rulings apply here. See City of

Miami v. Bank of America Corp., 800 F.3d 1262, 1288 (11th Cir. 2015).

        First, as in the Summit County case, West Boca’s Complaint pleads a facially plausible

unjust enrichment cause of action “on the theory that [the plaintiff] conferred a benefit upon all

Defendants by alleging that they paid for the cost of harm caused by the defendant’s conduct,

i.e., the defendants’ externalities.” Doc. #: 1025 at 95.55 Furthermore, Defendants’ argument that

there was no direct transaction between the parties, and therefore no direct benefit conferred,

does not warrant dismissal of the unjust enrichment claim under Florida law. See, e.g., Wilson v.



55 See also Doc. #: 1499 at 67-68 (citing to the Summit County holding and denying the motion to dismiss
plaintiff’s unjust enrichment claim, where plaintiff paid for the costs of the harm caused by Defendants’ conduct).




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EverBank, N.A., 77 F. Supp. 3d 1202, 1236–37 (S.D. Fla. 2015) (citing cases in the Southern

District of Florida that permit an unjust enrichment claim to stand where the benefit is conferred

through an intermediary); see also Sierra Equity Group, Inc. v. White Oak Equity Partners, LLC,

650 F.Supp.2d 1213, 1229 (S.D.Fla. 2009) (“Whether [Defendants] did or did not receive a

direct benefit from Plaintiff is a question of fact that cannot be resolved at the motion to dismiss

stage.”).

        The Court has also addressed and rejected in its Summit County ruling each of the

Distributor Defendants’ remaining arguments. First, the Court previously ruled that allegations

similar to West Boca’s allegations herein—that “Defendants appreciated and knew of this

benefit”—adequately supports the unjust enrichment element of knowledge in the pleading stage.

See Doc. #: 1025 at 94. Second, the argument that West Boca’s unjust enrichment claim should

be dismissed as “duplicative” was rejected in Summit County and is expressly rejected by courts

in the Southern District of Florida. See Doc. #: 1025 at 94-95; In re Monat Hair Care Prods.

Marketing, Sales Practices, and Prods. Liab. Litig., MDL No. 2841, 2019 WL 5423457, at *5

(S.D. Fla. Oct. 23, 2019) (“The general rule that ‘equitable remedies are not available under

Florida law when adequate legal remedies exist’…does not apply to unjust enrichment claims.”)

(citations omitted); Martorella v. Deutsche Bank Nat. Trust Co., 931 F.Supp.2d 1218, 1227 (S.D.

Fla. 2013) (finding plaintiff could “maintain an equitable unjust enrichment claim in the

alternative to her legal claims against Defendants”).

        Finally, Distributor Defendants’ argument that “there is nothing unjust” about the costs

incurred by West Boca, because it was obligated to provide care to patients adversely affected by

opioids, was also rejected in Summit County. See Doc. #: 1025 at 94 (“the complaint pleads that

the costs Plaintiffs assumed ‘are not part of the normal and expected costs’ and that ‘Defendants’




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alleged wrongful acts’ were not the sort to be reasonably expected”); but see City of Miami v.

Bank of America Corp., 800 F.3d 1262 (11th Cir. 2015) (upholding dismissal of City’s unjust

enrichment claim, finding it was not clear that the municipal expenditures at issue are “among

the types of benefits that can be recovered by unjust enrichment under Florida law”).

       For these reasons, Defendants’ Motion to Dismiss West Boca’s unjust enrichment claim

is denied.

                                    XI. Conclusion

       Accordingly, Defendants’ Motions to Dismiss are DENIED with respect to Counts I

(RICO § 1962(c)); II (RICO § 1962(d)); III (FDUTPA); IV (Misleading Advertising); VI

(Negligence); VII (Wanton Negligence); XI (Nuisance); and XII (Unjust Enrichment).

       Defendants’ Motions to Dismiss are GRANTED with respect to Counts II (RICO §

1962(a)); V (Breach of Implied Warranty); VIII (Negligence Per Se); IX (Negligent Marketing);

and X (Negligent Distribution).

               IT IS SO ORDERED.


                                                /s/ Dan Aaron Polster April 3, 2020
                                                DAN AARON POLSTER
                                                UNITED STATES DISTRICT JUDGE




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